                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION

                                              NO. 5:19-CV-322-FL


    GLORIA WILSON, PHYLLIS RODGERS, )
    EVELYN POWELL, and ELAINE HUNT, )
                                          )
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                      Plaintiffs,         )
                                          )
          v.                              )
                                          )
    NASH       EDGECOMBE        ECONOMIC )
    DEVELOPMENT,        INC.;      ELTON )                                          ORDER
    POWELL, Head Start Director; GINELL )
    ROGERS, Executive Director; NASH )
    EDGECOMBE                   ECONOMIC )
    DEVELOPMENT, INC. BOARD OF )
    DIRECTORS, January 1, 2017 – June 27, )
    2019; and JAMES COLLINS, Chairman,    )
                                          )
                      Defendants.         )


         This matter is before the court on defendants’ motion to dismiss pursuant to Federal Rules

of Civil Procedure 12(b)(1), 12(b)(2), and 12(b)(6). (DE 40). Also pending is plaintiffs’ second

motion to amend complaint. (DE 45). The issues raised have been briefed fully, and in this

posture, are ripe for ruling. For the following reasons, defendants’ motion to dismiss is granted in

part and denied in part, and plaintiffs’ second motion to amend is granted in part and denied in

part. Where the parties’ scheduling conference activities have been delayed pending resolution of

this and prior pleading challenges mounted by defendants, the court’s order also initiates these

activities, as described more particularly below.




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         The court constructively amends its case caption to reflect addition of plaintiff Elaine Hunt, who joined this
action through plaintiffs’ amended complaint, filed January 15, 2020.



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                                       STATEMENT OF THE CASE

         Plaintiffs Gloria Wilson (“Wilson”), Phyllis Rodgers (“Rodgers”), and Evelyn Powell

(“Powell”) commenced this employment discrimination action in Superior Court of Nash County,

North Carolina, on June 27, 2019, asserting claims under the Age Discrimination and Employment

Act of 1967, as amended (“ADEA”), 29 U.S.C. § 621 et seq.; Title VII of the Civil Rights Act of

1964, as amended (“Title VII”), 42 U.S.C. § 2000e et seq.; the Family Medical Leave Act

(“FMLA”), 29 U.S.C. § 2601, et seq.; as well as state law claims for wrongful discharge in

violation of the North Carolina Equal Employment Practices Act (“NCEEPA”); negligent hiring,

retention, and supervision; libel and slander; and intentional infliction of emotional distress.

Plaintiffs seek declaratory and injunctive relief, compensatory and punitive damages, costs, and

attorneys’ fees.

         Defendants removed the case to this court on July 30, 2019, and moved to dismiss on

August 27, 2019. Thereafter, plaintiffs filed amended complaint with leave of court, joining Elaine

Hunt (“Hunt”) as a plaintiff. After the court ruled that plaintiffs’ amended complaint rendered

defendants’ first motion to dismiss moot, defendants filed the instant motion to dismiss plaintiffs’

amended complaint January 29, 2020, seeking dismissal for lack of subject matter jurisdiction and

failure to state a claim upon which relief can be granted. In support of the motion, defendants rely

upon 1) May 1, 2017, article in the Rocky Mount Telegram and 2) excerpt of defendant Nash

Edgecombe Economic Development, Inc.’s (“NEED”) conflict of interest personnel policy.2

Plaintiffs responded in opposition, and defendants replied.



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         Although plaintiffs did not attach these documents to their amended complaint, they selectively quoted each
document, and those portions were “integral to and explicitly relied on in the complaint”; moreover, “plaintiffs do not
challenge [the documents’] authenticity”, so the court may properly consider them in ruling on defendants’ motion to
dismiss. Phillips v. LCI Int’l Inc., 190 F.3d 609, 618 (4th Cir. 1999); see Cozzarelli v. Inspire Pharmaceuticals, Inc.,
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        On July 31, 2020, plaintiffs filed the instant motion for leave to file second amended

complaint, seeking to join Dr. Shiquita Blue (“Dr. Blue”) as a party plaintiff and assert additional

claims on behalf of plaintiff Powell. Specifically, Dr. Blue seeks to assert ADEA; gender

discrimination; hostile work environment; retaliation; negligent hiring, retention, and supervision;

and NCEEPA claims. Plaintiff Powell seeks to assert retaliation and NCEEPA claims and to allege

additional facts in support of her ADEA; gender discrimination; hostile work environment;

negligent hiring, retention, and supervision; and intentional infliction of emotional distress claims.

On, August 21, 2020, defendants responded, opposing amendment due to plaintiffs’ failure to file

a memorandum in support of motion to amend, among other reasons. On August 23, 2020,

plaintiffs filed a memorandum in support of their motion.

                                        STATEMENT OF FACTS

        The facts alleged in plaintiffs’ first amended complaint may be summarized as follows.

Defendant NEED is a non-profit organization that provides grants and services to low-income and

moderate-income families residing in Nash, Edgecombe, and Wilson counties. (Am. Compl. (DE

37) ¶¶ 4,7). Defendant NEED employed plaintiffs as follows: plaintiff Wilson served as Family

Development Division Director and was a member of the management team, plaintiff Rodgers

served as an administrative assistant, plaintiff Hunt served as a Family Services Health Advocate,

and plaintiff Powell served as the Education Manager. (Id. ¶¶ 5, 51). In addition, defendant

Ginnell Rogers (“Rogers”) served as defendant NEED’s Executive Director, defendant James

Collins (“Collins”) served as chairman of defendant NEED’s board of directors, and defendant Dr.

Elton Powell (“Dr. Powell”) served as Head Start Director. (Id. ¶ 13).



549 F.3d 618, 625 (considering investment analyst reports attached to the defendants’ motion to dismiss because the
complaint selectively quoted from those reports and the plaintiffs did not challenge the reports’ authenticity).
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A.     Defendant Rogers

       According to plaintiffs, defendant Rogers was not the top candidate for the Executive

Director position. (Id. ¶ 399). She did not have supervisory experience, and she had not managed

a budget comparable to defendant NEED’s budget. (Id. ¶ 400). Nevertheless, defendant NEED

hired defendant Rogers to serve as the Executive Director in 2017. (Id. ¶ 397).

        Prior to her employment with defendant NEED, defendant Rogers worked in the North

Carolina Department of Health and Human Services Division of Economic Opportunity, where

she monitored community block grants for several agencies, including defendant NEED. (Id. ¶

56). In light of this experience, plaintiffs allege defendant Rogers was familiar with defendant

NEED’s staff demographics, and formed the intent to discriminate against defendant NEED’s

older employees before she became its Executive Director. (Id. ¶ 57).

       Soon after defendant NEED hired defendant Rogers as Executive Director in 2017, a staff

writer for The Rocky Mount Telegram, interviewed defendant Rogers. (Id. ¶ 47). Plaintiffs allege

defendant Rogers stated in the interview that “NEED has never had an Executive Director as young

as [her], and that her goal is to eventually have a more younger presence in NEED.” (Id. ¶ 48).

Plaintiffs also allege that defendant Rogers stated “a lot of employees are older, and [she does not]

see a lot of the younger generation within management [at defendant NEED]. (Id.). Finally,

plaintiffs allege defendant Rogers “stated that it is harder for the older generation to adapt and

change.” (Id.).

       Plaintiffs also allege defendant Rogers “provide[d] preferential treatment to the male

employees.” (Id. ¶ 345). In particular, defendant Rogers suspended without pay two female

employees, Joyce Lloyd and Sandra Lancaster, when their letters of qualification expired; yet, she

allowed two male employees, Joseph Macklin and Howie Stephens, to continue working after their
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letters of qualification expired, and she allowed defendant Dr. Powell to begin working at

defendant NEED before he obtained a letter of qualification. (Id. ¶¶ 341-343). Moreover,

defendant Rogers denied Rosilyn Kee’s request for vacation leave, but she approved Reggie

Chambers’s (“Chambers”) request for vacation, even though both requests were submitted around

the same time period. (Id. ¶ 344).

B.      Plaintiff Wilson’s Salary

        On January 24, 2018, defendant Rogers met with plaintiff Wilson and her staff, and she

stated that plaintiff Wilson’s salary could be decreased to balance the budget. (Id. ¶ 87). Plaintiff

Wilson viewed this statement as a threat, and it created an alleged hostile work environment. (Id.

¶ 88). Then, on February 9, 2018, while plaintiff Wilson was on bereavement leave due to the

death of her brother, defendant Rogers recommended that plaintiff Wilson’s salary be decreased

by $6,000.00, and senior staff member Kathy Finch’s salary be decreased by $4,000.00, to balance

the budget. (Id. ¶¶ 52, 74). Defendant Rogers allegedly planned to decrease Finch’s and plaintiff

Wilson’s salaries in order to increase two younger staff members’ salaries by $3,000.00 dollars

each. (Id. ¶ 53). However, defendant Board of Directors did not reduce plaintiff Wilson’s salary.

(Id. ¶ 78).

        Thereafter, defendant Rogers allegedly created a hostile work environment by making

numerous unattainable work demands. (Id. ¶ 79). For example, on March 26, 2018, defendant

Rogers emailed plaintiff Wilson at 4:00 p.m., demanding that plaintiff Wilson meet with her staff

and prepare a report by 5:00 p.m., even though plaintiff Wilson was scheduled to leave for vacation

the next day. (Id. ¶ 80). Plaintiff Wilson and her staff worked until 8:00 p.m. to complete the

report. (Id. ¶ 81). Defendant Rogers allegedly did not use the report, and she told the staff she did

not know why plaintiff Wilson required them to work late. (Id. ¶¶ 81-82). Moreover, on several
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occasions, defendant Rogers allegedly tried to solicit negative comments from plaintiff Wilson’s

staff regarding plaintiff Wilson’s job performance. (Id. ¶ 84). Although defendant Rogers’s efforts

were unsuccessful, they affected the staff’s moral and allegedly created a hostile work environment

for plaintiff Wilson. (Id.).

C.       Termination of Plaintiffs Wilson and Rodgers

         During the 24 years the plaintiff Wilson worked for defendant NEED, she did not receive

a negative performance evaluation until defendant Rogers conducted plaintiff Wilson’s annual

review, after observing plaintiff Wilson’s performance for only four months. (Id. ¶¶ 20-21). Prior

to this negative review, defendant Rogers did not provide plaintiff Wilson with any feedback on

aspects of her performance that needed improvement. (Id. ¶ 22). On April 18, 2018, defendant

Rogers terminated plaintiffs Wilson and Rodgers from their positions at defendant NEED. (Id. ¶¶

23, 100). On the date of their termination, plaintiff Rodgers was 46 years old and plaintiff Wilson

was 63 years old. (Id. ¶¶ 50, 128). According to discharge letters sent by defendant Rogers, the

sole reason for their termination was an alleged conflict of interest with vendor Motivator

Enterprise, LLC. 3 (Id. ¶¶ 32, 107).

         According to plaintiffs, defendant NEED’s conflict of interest policy requires “[a]ny

member of the Board of Directors or other policy-making body or employee having any interest

shall promptly make such interest known at each meeting or in writing, to the Chairperson of the

Board of Directors.” (Id. ¶ 33). Plaintiff Wilson has never had any ownership interest in Motivator

Enterprises, LLC, nor she did benefit directly or indirectly from the transactions with Motivator

Enterprises, LLC. (Id. ¶¶ 34, 35). Plaintiff Rodgers acknowledges that she has an ownership



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        Plaintiff Rodgers also alleges that defendant Rogers informed her on or about April 18, 2020, that her position
was eliminated due to lack of funding.
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interest in Motivator Enterprises, LLC, as she is married to its operator, Milo Rodgers, but alleges

that she disclosed this interest when she applied for the position, since it is prominently displayed

on her resume. (Id. ¶¶ 108-109). In addition, plaintiff Rodgers alleges that Chambers, as well as

defendants Collins and Rogers, knew that plaintiff Rodgers was married to the operator of

Motivator Enterprises, LLC. (Id. ¶ 109).

       The transactions at issue between defendant NEED and Motivator Enterprises, LLC,

consist of two requests for Motivator Enterprises, LLC’s services, for $500.00 each, and one

request for Motivator Enterprises, LLC’s services, for $1,500.00. (Id. ¶ 38). Plaintiff Wilson

submitted all three invoice requests to defendant Rogers, as required by defendant NEED’s policy,

and defendant Rogers approved them all, despite having direct knowledge that plaintiff Rogers

was married to the operator of Motivator Enterprises, LLC. (Id. ¶¶ 38-39). Defendant Rogers

initially refused to execute the check for the $1,500.00 invoice; however, on June 11, 2018, she

paid Motivator Enterprises, LLC in full. (Id. ¶¶ 41-42).

       Plaintiffs Wilson and Rodgers appealed their termination to defendant Board of Directors,

which held an appeals hearing on June 19, 2018. (Id. ¶¶ 25-27; 101-103). During the appeals

hearing, attorney for plaintiffs Wilson and Rodgers was allowed 10 minutes to present information

on their behalf. (Id. ¶¶ 27, 103). In letters dated June 25, 2018, defendant Collins informed

plaintiffs Wilson and Rodgers that defendant Board of Directors upheld defendant Rogers’s

decision to terminate them. (Id. ¶¶ 29, 105). After being discharged, plaintiff Wilson experienced

chest pains and received medical treatment several times at Nash General Hospital. (Id. ¶ 96). On

March 4, 2019, she was diagnosed with situational mixed anxiety and depressive disorder and was

prescribed Fluoxetine. (Id. ¶ 97).



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        Plaintiffs Wilson and Rodgers allege that their termination was merely a “pretext to age

and gender discrimination.” (Id. ¶¶ 45, 121). Moreover, they note that Chambers, defendant

NEED’s job placement specialist, was responsible for procuring two services from vendor

Motivator Enterprises, LLC, and submitting responses for services to plaintiff Wilson; yet, he was

not cited for a conflict of interest violation or terminated from defendant NEED. (Id. ¶¶ 36-37,

132). In addition, defendant Dr. Powell allegedly had plans to open a competing private school

with his wife. (Id. ¶¶ 41). Although defendants Rogers and Board of Directors were aware of

defendant Dr. Powell’s intent to open the private school, they did not discharge defendant Dr.

Powell, nor did they cite him for a conflict of interest violation. (Id. ¶¶ 141-143).

D.      Plaintiff Powell’s Grievances

        During the four years that plaintiff Powell worked for defendant NEED, she was an

outstanding employee and has never received a negative employment evaluation. (Id. ¶¶ 156,

158). Indeed, when plaintiff Powell started working for defendant NEED, the educational centers

were about to lose accreditation; however, under her leadership, all of the educational centers

obtained five-star status. (Id. ¶ 157).

        In early 2018, plaintiff Powell requested permission from defendants Rogers and Dr.

Powell to attend a training event in Greensboro, North Carolina. (Id. ¶ 246). After several months

elapsed without a response, plaintiff Powell resubmitted her request on April 29, 2018. (Id.).

Defendants Rogers and Dr. Powell did not respond to plaintiff Powell’s second inquiry;

nevertheless, plaintiff Powell and her staff traveled to Greensboro to attend the training. (Id. ¶

248).

        At the training event, plaintiff Powell was informed that defendant Rogers would contact

her by the end of the business day, that she was to return to work the next morning, and that her
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two peers could attend the remainder of the training event. (Id. ¶ 250). When defendant Rogers

did not contact plaintiff Powell as promised, plaintiff Powell drove home from Greensboro at the

end of the day. (Id. ¶ 251). At approximately 10:00 p.m., plaintiff Powell called defendant Dr.

Powell, who advised that defendant Rogers had changed her mind and that plaintiff Powell was

allowed to attend the training. (Id. ¶ 252). Accordingly, plaintiff Powell drove back to Greensboro

the next morning to attend the conference. (Id. ¶ 253).

        After observing plaintiff Powell’s performance for only one month, defendant Dr. Powell

verbally suspended plaintiff Powell without pay for approximately six months on May 21, 2018,

to investigate the pinching of a student by a teacher at an education center. (Id. ¶¶ 159, 165). On

the date of her suspension, plaintiff Powell was 60 years old. (Id. ¶ 220).                   Although plaintiff

Powell was not at the center when the alleged incident occurred, Valarie Arrington (“Arrington”)

the center’s director, was onsite; yet, Arrington was suspended for less time than plaintiff Powell,

and she received a promotion to a larger center. (Id. ¶¶ 160-166).4

        In letter dated July 23, 2018, defendant Rogers informed plaintiff Powell that the

investigation did not reveal any misconduct by plaintiff Powell, but that an independent Head Start

consultant found that plaintiff Powell failed to properly train staff as it relates to child abuse and

neglect; therefore, she was being demoted to Teacher’s Assistant. (Id. ¶¶ 168-171). According to

plaintiff Powell, defendant Dr. Powell did not mention that the adequacy of her training and

instruction would be investigated when he verbally suspended her on May 21, 2018. (Id. ¶ 170).




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          On June 8, 2018, defendant Dr. Powell directed plaintiff Powell to attend a meeting to discuss her verbal
suspension without pay. (Id. ¶ 261). Defendant Dr. Powell, members of defendant NEED’s staff, a private consultant,
and defendant Collins attended the meeting. (Id. ¶ 262). During the meeting defendant Dr. Powell allegedly
terminated plaintiff Powell. (Id. ¶ 263). Although defendant Rogers did not uphold the termination, plaintiff Powell
alleges it was the most embarrassing and professionally devastating experience in her life. (Id. ¶¶ 265, 268).
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       Plaintiff Powell appealed her verbal suspension without pay, and defendant Board of

Directors referred the appeal to the Personnel and Executive Committees (“PEC”). (Id. ¶¶ 178,

180). At hearing, defendant Dr. Powell presented allegations against plaintiff Powell to the PEC.

(Id. ¶ 181). In addition to the alleged pinching incident, and plaintiff Powell’s alleged failure to

train staff on issues such as child abuse and neglect, defendant Dr. Powell presented 11 allegations

against plaintiff Powell, dating back to October 2017. (Id. ¶ 181). Among the allegations,

defendants Rogers and Dr. Powell accused plaintiff Powell of creating fake CPR Certification

cards for herself and others. (Id. ¶ 188). Defendants Rogers and Dr. Powell allegedly found these

sample CPR Certification cards when they entered plaintiff Powell’s office and searched her bags

while plaintiff Powell was on verbal suspension. (Id. ¶ 189). When confronted about the cards,

plaintiff Powell explained to defendants Rogers and Dr. Powell that the sample CPR Certification

cards were used as props during a seminar that she conducted for her sorority in March 2017. (Id.

¶ 191). Despite this explanation, defendants Rogers and Dr. Powell presented the allegation to the

PEC and allegedly continued to accuse plaintiff Powell of fraud. (Id. ¶ 193).

       At the conclusion of the presentations, the PEC found “that there was a lack of written

documentation verifying violations by Plaintiff Evelyn Powell to willfully neglect her job duties.”

(Id. ¶ 184). Moreover, the PEC found that defendants Dr. Powell and Rogers failed to follow

defendant NEED’s personnel policy and procedure guidelines for disciplinary correction action of

an employee. (Id. ¶ 185). Regarding the CPR Certification card allegation, the PEC ruled that

plaintiff Powell did not possess the requisite willful intent to change defendant NEED’s files for

personal gain or to tarnish the agency’s image or reputation. (Id. ¶ 194). Accordingly, the PEC

recommended that plaintiff Powell be reinstated to her previous Education Manager position or a



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similar position with a commensurate salary, and defendant Board of Directors voted to affirm

PEC’s findings. (Id. ¶¶ 195).

       However, defendants Rogers and Dr. Powell did not reinstate plaintiff Powell; instead, they

sought a second opinion from the Policy Council. (Id. ¶¶ 197-198). The Policy Council voted to

uphold the suspension without pay and demotion, creating an impasse with defendant Board of

Directors. (Id. ¶¶ 201-202). A mediator, selected by defendant Rogers, ruled that defendants

Rogers and Dr. Powell violated several policies when they suspended and demoted plaintiff

Powell, and it recommended that plaintiff Powell be reinstated as the Education Manager. (Id. ¶

206). However, defendant Rogers did not reinstate plaintiff Powell until 20 days later. (Id. ¶ 278).

Plaintiff Powell experienced emotional distress as a result of this financial hardship, and after being

suspended for six months without pay, plaintiff Powell was treated by a physician for depression

and anxiety. (Id. ¶¶ 215, 321).

       Upon plaintiff Powell’s return to work on November 5, 2018, defendant Rogers informed

her that “there may be a very cold atmosphere at NEED and you should be aware that some of the

employees are needing to adjust to you returning back to work.” (Id. ¶ 283). According to plaintiff

Powell, that was a warning that she was returning to a hostile work environment. (Id. ¶ 284). Also,

defendants Rogers and Dr. Powell advised plaintiff Powell and staff that “all feedback will be

given to the lead teachers and center directors and there is to be no collaboration between Mrs.

Powell and the teachers.” (Id. ¶ 280). According to plaintiff Powell, this directive was issued to

create a hostile work environment and retaliate against plaintiff Powell for prevailing against their

attempts to demote and discharge her. (Id. ¶ 281). Moreover, this directive is in conflict with the

revised job description given to plaintiff Powell when she returned to work, which requires



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plaintiff Powell to train, develop, and act as a substitute teacher in the lead teacher’s absence. (Id.

¶ 282).

          Defendant Rogers established a mentoring group with lead teachers and center directors,

designating herself as a leader. (Id. ¶ 313). The members of the mentoring group were not allowed

to share any of the information discussed in their meetings; however, the members of the mentoring

group were unsure as to what information qualified as confidential. (Id. ¶ 314). According to

plaintiff Powell, this rule created a hostile work environment. (Id. ¶ 316).5

          When plaintiff Powell returned to work on November 5, 2018, she was assigned a smaller

office in a different location. (Id. ¶ 296). The janitor directed her to the closet where her

belongings were stored during her suspension, and she found her refrigerator full of molded food,

rodents, and maggots. (Id. ¶ 300). The maintenance staff offered to help plaintiff Powell move

her desk and bookshelves to her new office; however, defendant Dr. Powell ordered the

maintenance to avoid conversation with plaintiff Powell. (Id. ¶¶ 302-305). Yet, prior to her

suspension, it was normal practice for the maintenance staff to meet with plaintiff Powell each

day. (Id. ¶ 306).

E.        Plaintiff Hunt’s Termination

          Plaintiff Hunt is a veteran with advanced degrees, who worked for defendant NEED for

four years without receiving an unsatisfactory performance evaluation. (Id. ¶ 322). On June 20,




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         Plaintiff Powell was instructed to not communicate with the lead teachers and center supervisors on her
morning call to see if there were absences or problems, as she had done prior to her suspension. Instead, the lead
teachers and center supervisors were to call Dr. Blue, who would relay messages to plaintiff Powell if she believed it
was necessary. (Id. ¶ 318). However, according to plaintiff Powell, Dr. Blue is the Family Engagement Partnership
Manager, and she has no responsibility regarding the day to day operations of Head Start and the classroom. (Id. ¶
319). Plaintiff Powell alleges these requirements were implemented to ensure that she failed and to give defendant
Rogers and Dr. Powell an excuse to discharge her from employment. (Id. ¶ 320).

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2018, plaintiff Hunt took approved FMLA leave, which was set to continue until September 21,

2018. (Id. ¶ 323). On August 31, 2018, a co-worker allegedly told plaintiff Hunt that she was

being demoted upon her return from leave. (Id. ¶ 324). On September 3, 2018, plaintiff Hunt

asked why she was being demoted, and defendant Dr. Powell indicated that “the other Family

Service Health staff had worked hard this summer while she was out of work on FMLA leave and

her new position is a teacher’s assistant.” (Id. ¶ 326). According to plaintiff Hunt, she was never

given written notice citing the reason for her alleged demotion, in violation of Article III, Section

14 of defendant Need’s personnel policy. (Id. ¶ 327).

        In letter September 19, 2018, two days before plaintiff Hunt was scheduled to return to

work, plaintiff Hunt submitted a letter from her medical doctor, Dr. Nancy L. Vogel (“Dr. Vogel”),

stating that plaintiff Hunt was under her care for a medical condition that requires her to remain

off work for six months. (Id. ¶ 331). On September 21, 2018, defendant Rogers aggressively

pressured plaintiff Hunt to disclose her medical condition, but defendant Rogers refused. (Id. ¶

347). When plaintiff did not receive any correspondence from defendant Rogers after September

21, 2018, plaintiff Hunt believed that her request for additional leave had been approved. (Id. ¶

334).

        On October 17, 2018, defendant NEED received an employment reference request from

the Edgecombe County Department of Social Services regarding plaintiff Hunt. (Id. ¶ 335). In

response, defendant Rogers submitted a negative employment reference, even though defendant

Rogers did not directly supervise her. (Id. ¶ 348). Dr. Blue, plaintiff Hunt’s supervisor, should

have completed the employment reference. (Id. ¶ 349).

        In letter dated October 29, 2018, defendant Rogers advised plaintiff Hunt that she was

terminated immediately for not disclosing the medical condition associated with her request for
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FMLA leave and for seeking employment with another agency. (Id. ¶ 333). Plaintiff Hunt alleges

her termination is “a pretext to retaliating against Plaintiff Hunt for taking FMLA leave and sex

discrimination.” (Id. ¶ 339).

       Additional facts pertinent to the instant motions will be discussed below.

                                     COURT’S DISCUSSION

A.      Motion to Dismiss

       1.       Standard of Review

       “To survive a motion to dismiss” under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 663 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

“Factual allegations must be enough to raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 555. In evaluating whether a claim is stated, “ [the] court accepts all well-

pled facts as true and construes these facts in the light most favorable to the plaintiff,” but does

not consider “ legal conclusions, elements of a cause of action, . . . bare assertions devoid of further

factual enhancement[,] . . . unwarranted inferences, unreasonable conclusions, or arguments.”

Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 255 (4th Cir. 2009) (citations

omitted).

       2.       Analysis

                a.     Title VII, ADEA, and NCEEPA Claims Against Individual Defendants

       Defendants Rogers, Dr. Powell, Collins, and Board of Directors argue that they are not

subject to liability under Title VII, ADEA, or NCEEPA, because they are not plaintiffs’ employers.

The court agrees.



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        ADEA and Title VII each make it unlawful for an “employer” to engage in certain

discriminatory conduct. See 29 U.S.C. § 623; 42 U.S.C. § 2000e-2. “Employer” is defined in

ADEA in pertinent part as “a person engaged in an industry affecting commerce who has twenty

or more employees . . .” 29 U.S.C. § 630(b). A similar definition is used by Title VII, but with a

lower threshold of fifteen employees. See 42 U.S.C. § 2000e(b). Based on these definitions, the

Fourth Circuit has explicitly rejected individual liability under either statute. See Lissau v. S. Food

Serv., Inc., 159 F.3d 177, 180-81 (4th Cir. 1998) (Title VII); Birkbeck v. Marvel Lighting Corp.,

30 F.3d 507, 510-11 (4th Cir. 1994) (ADEA).

        Under this reasoning, courts in the Fourth Circuit have also held that a board of directors

cannot be liable under Title VII or the ADEA. See Johnson v. Quin Rivers Agency for Cmty.

Action, Inc., 128 F. Supp. 2d 332, 335 (E.D. Va. 2001); Pearsall v. Child Advoc. Comm’n of

Lower Cape Fear, Inc., No. 7:98CV200-BR, 2000 WL 33682693, at *5 (E.D.N.C. Feb. 15, 2000).

Here, defendant NEED is plaintiffs’ employer, and thus, the only defendant subject to liability

under Title VII or the ADEA. Accordingly, plaintiffs’ Title VII and ADEA claims against

defendants Collins, Rogers, Dr. Powell, and Board of Directors are dismissed with prejudice.6

        In interpreting the NCEEPA, North Carolina courts are guided by federal case law

developed pursuant to Title VII. See N.C. Dept. of Corr. v. Gibson, 308 N.C. 131, 136 (1983).

Accordingly, in North Carolina, individual employees and supervisors are not amenable to suit at

common law for wrongful discharge in violation of public policy. See Cox v. Indian Head Indus.,

187 F.R.D. 531, 535 (W.D.N.C. 1999); Chung v. BNR, Inc./N. Telecom, Inc., 16 F. Supp. 2d 632,



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         Plaintiffs argue that these individual defendants are subject to liability under Title VII and ADEA because
they allegedly committed acts outside of the scope of their official duties and employment. However, such allegations
are immaterial to this inquiry, where they do not render the individual defendants “employers” for purposes of Title
VII or ADEA.
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634 (E.D.N.C. 1997). This reasoning is applicable to members of a board of directors as well.

Accordingly, plaintiffs’ NCEEPA claims against defendants Rogers, Dr. Powell, Collins, and

Board of Directors are dismissed with prejudice.7

                  b.       ADEA Claims

          Defendants move to dismiss ADEA claims asserted by plaintiffs Wilson, Powell, and

Rodgers for failure to state a claim upon which relief can be granted.

          Plaintiffs Wilson and Rodgers allege they were terminated because of their age, and

plaintiff Powell alleges she was suspended because of her age, in violation of the ADEA. The

ADEA provides that “[i]t shall be unlawful for an employer to fail or refuse to hire or to discharge

any individual or otherwise discriminate against any individual with respect to his compensation,

terms, conditions, or privileges of employment, because of such individual’s age.” 29 U.S.C. §

623(a).

          To state a claim under the ADEA, plaintiffs must allege plausible facts to satisfy the

elements of a cause of action created by that statute, that is, that defendant NEED “discharge[d]

[them] or otherwise discriminate[d]” against them “because of [their] age.” 29 U.S.C. § 623(a)

(emphasis added); McCleary-Evans v. Maryland Dep't of Transp., State Highway Admin., 780

F.3d 582, 586 (4th Cir. 2015). The elements of a prima facie claim under the ADEA are: “(1) at

the time of her firing, she was at least 40 years of age; (2) she was qualified for the job and

performing in accordance with her employer’s legitimate expectations; (3) her employer

nonetheless discharged her; and (4) a substantially younger individual with comparable



7
         The court declines to address the parties’ arguments regarding whether plaintiffs can assert their other claims
against defendant Board of Directors, where those claims, except plaintiff Powell’s defamation claim, do not survive
motion to dismiss, as set forth in more detail herein, and plaintiff Powell’s defamation claim is brought against
defendant NEED only. (See Am Compl. (DE 37) ¶¶ 414-421).
                                                          16



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qualifications replaced her.” Westmoreland v. TWC Admin. LLC, 924 F.3d 718, 725 (4th Cir.

2019).

                        i.      Plaintiff Wilson

         Here, plaintiff Wilson has alleged sufficient facts to give rise to a reasonable inference of

each element of the prima facie case, as well as intentional discrimination.

         First, plaintiff Wilson was 63 at the time of her adverse employment action. (Id. ¶¶ 126,

128). Second, she alleges that she had been an exemplary employee for 24 years and never

received a negative employment evaluation until defendant Rogers joined defendant NEED. (Id.

¶ 20). Third, she was terminated. Fourth, it may be inferred from the allegations that a

substantially younger individual replaced her. (Id. ¶ 49).

         Finally, plaintiffs Wilson alleges that the purported reason for her termination, violation of

defendant NEED’s conflict of interest policy, was a pretext for intentional age discrimination

because lesser sanctions were available. In particular, plaintiff Wilson alleges that defendant

NEED’s personnel policy required defendant Rogers to issue a written reprimand, rather than

terminate her, since it was her first alleged offense. (Am. Compl. (DE 37) ¶¶ 43, 44). In this

manner, plaintiff Wilson has alleged facts permitting an inference that her termination was “such

an extreme overreaction as to be pretextual.” Westmoreland v. TWC Admin. LLC, 924 F.3d 718,

723 (4th Cir. 2019) (finding pretext where, the defendant’s “sole justification for its action was

[plaintiff’s] backdating of a form in violation of company policy,” and where “the offense was

isolated, lesser sanctions were available, and company officials had advised her that the offense

was not serious and she had nothing to worry about”).

         Defendants attempt to distinguish the instant matter from Westmoreland by noting that, in

Westmoreland, the plaintiff’s supervisor told her to “just go home and take care of those
                                                   17



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grandbabies” upon firing her. 924 F.3d at 724. Although statements evincing such age-based

animus are absent from the allegations here, this absence is not fatal to plaintiff Wilson’s claim,

where she plausibly states a prima facie claim and alleges additional facts permitting an inference

of pretext. Accordingly, defendants’ motion to dismiss is denied in this part. 8

                           ii.       Plaintiffs Rodgers and Powell

         Plaintiffs Rodgers and Powell fail to state ADEA claims, where they fail to plausibly allege

certain requisite elements. In particular, plaintiff Rodgers fails to allege any facts regarding her

job performance, precluding the inference that she was qualified for her position or was otherwise

meeting her employer’s legitimate expectations. Moreover, plaintiff Powell fails to allege different

treatment of similarly situated employees outside the protected class. Although plaintiff Powell

alleges that she was suspended for a longer period of time than Arrington, she does not allege

Arrington’s age, preventing a determination as to whether Arrington is outside of the protected

class. Accordingly, plaintiffs Rodgers and Powell fail to state ADEA claims.9

         Nevertheless, plaintiffs argue that defendant Rogers’s statements, memorialized in article

published March 1, 2017, evince discriminatory intent. As pertinent here, the article quotes




8
         Although not necessary for the court’s decision on the instant motion, the court notes that plaintiff’s proposed
second amended complaint alleges specifically that plaintiff Wilson was replaced by a 33 year old, and that from 2018
to 2020, defendant Rogers terminated six employees ages 46 to 63, and hired 13 employees between the ages of 23 to
38. (Prop. 2d. Am. Compl. (DE 45-1) ¶¶ 373-376). As set forth further below, the court grants plaintiffs’ motion to
amend in this part, allowing plaintiffs to plead the ages of employees hired by defendant Rogers.
9
         Where plaintiff Powell fails to plausibly allege a prima facie case, plaintiff Powell’s arguments regarding
pretext are unavailing. See King v. Rumsfeld, 328 F.3d 145, 150 (4th Cir. 2003) (“These allegations, as King
recognizes, go to the issue of whether appellee's explanation of King's discharge is pretextual. But, since King never
established a prima facie case as to his discrimination claims, appellee is under no duty to supply an explanation for
King's discharge.”)



                                                          18



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defendant Rogers stating that “NEED has never had anybody in this position as young as me so

it’s definitely a change for the agency.” (Ex. 1 (DE 40-1)). Moreover, the article continues:

           Rogers also said its important for the more than 50 year-old agency to be able to
           adapt with the changing times. She added her goal is to eventually have a more
           younger presence in NEED. “A lot of our employees are older, and I don’t see a
           lot of the younger generation within management here.” Rogers said. “I would
           like to see more like a volunteer base–especially with the younger or millennial
           base–because there are so many bright and new ideas that they have. I’m not taking
           away from the older generation, but sometimes it’s hard for them to adapt and
           change. It’s important for us to create more of a presence in the community and
           one way to do that is through social media. That’s why we need to appeal to the
           younger generation.”

(Id.).10

           The above statements do not support plaintiffs Rodgers’s and Powell’s ADEA claims,

where plaintiffs fail to allege a nexus between the statements and the employment decisions at

issue. See E.E.O.C. v. Clay Printing Co., 955 F.2d 936, 941 (4th Cir. 1992) (finding no

discriminatory intent where the “alleged discriminatory statements were not directly related to any

particular person, employment decision or pattern of decision making” and “no nexus exist[ed]

between the alleged discriminatory statements and any of the employment decisions”) (emphasis

in original). Indeed, not only are defendant Roger’s statements devoid of any reference to

plaintiffs, her statements were published March 1, 2017, approximately one year before plaintiff

Rodgers was discharged, (see Am. Compl. (DE 37) ¶¶ 100) and plaintiff Powell was suspended

(see id. ¶ 159). Importantly, the Fourth Circuit has concluded that statements made approximately

one to two years prior to an employment decision are too remote to have plausibly influenced the


10
          Although defendants attached this document to their motion to dismiss, plaintiffs selectively quoted from it
and those quotations were “integral to and explicitly relied on in the complaint”; moreover, “plaintiffs do not challenge
[the document’s] authenticity”, so the court may properly consider it in ruling on defendants’ motion to dismiss.
Phillips v. LCI Int’l Inc., 190 F.3d 609, 618 (4th Cir. 1999); see Cozzarelli v. Inspire Pharmaceuticals, Inc., 549 F.3d
618, 625 (considering investment analyst reports attached to the defendants’ motion to dismiss because the complaint
selectively quoted from those reports and the plaintiffs did not challenge the reports’ authenticity).
                                                          19



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employment decision. See Birkbeck v. Marvel Lighting Corp., 30 F.3d 507, 511-512 (4th Cir.

1994).

         Moreover, the Fourth Circuit has repeatedly held that statements reflecting a desire to

appeal to a younger generation, or to benefit from that generation’s insights, such as those made

by defendant Rogers, are not probative of discriminatory intent. See id. (statement that “there

comes a time when we have to make way for younger people” “creates no inference of age bias”);

Clay Printing, 955 F.2d at 942 (statements indicating need to “attract newer, younger people” and

“young blood” were “not probative of age discrimination or a discriminatory purpose”); Smith v.

Flax, 618 F.2d 1062, 1066 (4th Cir. 1980) (finding “statements . . . that the Division’s future lay

in its young Ph.D’s, and that all employees at some time reached the peak in efficiency” to be

“truisms” that did not indicate a discriminatory purpose). Rather, to evince age-based animus, the

statement must be “more than a fact of life . . . that carries with it no disparaging undertones.”

Birkbeck, 30 F.3d at 512; see Wilhelm v. Blue Bell, Inc., 773 F2d 1429, 1434 (4th Cir. 1985)

(finding discriminatory intent in statements such as “the younger salesmen do a much better job

than you older fellows. You older fellows have a tendency to become complacent after you have

been around a while and run out of steam”; “Blue Bell doesn’t want salesmen with good records

anymore. . . . They want young men who can do the work for a lot less money.”; and “My God,

[are] you old guys still around. I thought we got rid of you at the last sales meeting.”).

         Here, defendant Rogers’s statement includes several “truisms” and “facts of life”, including

that young people often possess bright, new ideas. Moreover, she specifically states that she is

“not taking away from the older generation”, (Ex.1 (DE 40-1)), and her statement carries no

disparaging undertones.      Thus, it cannot be inferred reasonably from defendant Rogers’s



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statements that plaintiffs Rodgers and Powell were terminated and suspended, respectively,

because of their ages.

       Accordingly, defendants’ motion is granted in this part, and plaintiffs Rodgers’s and

Powell’s age discrimination claims are dismissed with prejudice.

               c.        Title VII Gender Discrimination

       Defendants move to dismiss gender discrimination claims asserted by plaintiffs Wilson,

Powell, Rodgers, and Hunt for failure to state a claim upon which relief can be granted. Plaintiffs

Wilson, Hunt, and Rodgers allege they were terminated because of their gender, and plaintiff

Powell alleges she was suspended because of her gender, in violation of Title VII.

       Title VII makes it unlawful for employers “to fail or refuse to hire or to discharge any

individual, or otherwise to discriminate against any individual with respect to his compensation,

terms, conditions, or privileges of employment, because of such individual’s race, color, religion,

sex, or national origin.” 42 U.S.C. § 2000e-2. See McCleary-Evans v. Md. Dep’t of Transp.,

780 F.3d 582, 584-85 (4th Cir. 2015); Coleman v. Md. Court of Appeals, 626 F.3d 187, 190 (4th

Cir. 2010). Accordingly, plaintiffs must plausibly allege facts to satisfy the elements of a cause of

action created by Title VII–that is–that defendant NEED “discharge[d] [them], or otherwise to

discriminate[d]” against them “because of [their] . . . sex.” 42 U.S.C. § 2000e-2; see McCleary-

Evans, 626 F.3d at 585.

       The elements of a prima facie case of discrimination under Title VII are: (1) membership

in a protected class; (2) satisfactory job performance; (3) adverse employment action; and (4)

different treatment from similarly situated employees outside the protected class.” Coleman v.

Maryland Court of Appeals, 626 F.3d 187, 190 (4th Cir. 2010) (citing White v. BFI Waste Servs.,



                                                 21



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LLC, 375 F.3d 288, 295 (4th Cir. 2004)); Haulbrook v. Michelin N. Am., 252 F.3d 696, 702 (4th

Cir. 2001).

                        i.       Plaintiff Wilson

        Plaintiff Wilson has alleged sufficient facts to give rise to a reasonable inference of each

element of the prima facie case. First, plaintiff Wilson is female. Second, she alleges that she had

been an exemplary employee for 24 years and never received a negative employment evaluation

until defendant Rogers joined defendant NEED. (Am. Compl. (DE 37) ¶ 20). Third, she was

terminated. Fourth, plaintiff Wilson alleges that defendant NEED treated an employee outside of

the protected class differently. In particular, plaintiff Wilson alleges that she and plaintiff Rodgers

were terminated for their involvement in transactions with Motivator Enterprises, LLC, which

were determined to violate defendant NEED’s conflict of interest policy. However, Chambers, a

male employee, also procured two services from Motivator Enterprises, LLC, while knowing that

plaintiff Rodgers was married to its operator, but he was not terminated or cited with a conflict of

interest violation. (Id. ¶¶ 59-60).

        Defendants seek to justify the differential treatment of Chambers by arguing that he was

not similarly situated with plaintiffs Wilson or Rodgers. In support, defendants argue that unlike

plaintiff Wilson, Chambers was not a member of defendant NEED’s management team or a

supervisory employee.11 In addition, defendants argue that unlike plaintiff Rodgers, Chambers did

not benefit from the transaction.




11
         Defendants also argue that Chambers did not know plaintiff Rodgers would receive a benefit from the
transaction. (Mem. (DE 41) at 24). However, plaintiffs allege that Chambers did have knowledge of plaintiff
Rodgers’s interest in Motivator Enterprises, LLC. (See Am. Compl. (DE 37) ¶ 109).

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         However, “evidentiary determinations regarding whether the comparators’ features are

sufficiently similar to constitute appropriate comparisons generally should not be made [when

ruling on a motion to dismiss].” Woods v. City of Greensboro, 855 F.3d 639, 650–51 (4th Cir.

2017). At bottom, plaintiffs have alleged that two female employees, and one male employee,

were all involved in the same transactions, which were deemed to violate the conflict of interest

policy; yet, only the female employees were cited with a conflict of interest violation and

terminated.12 Such allegations permit the reasonable inference that a similarly situated employee

outside of the protected class was treated differently. Accordingly, plaintiff Wilson has plausibly

alleged that she was discharged because of her gender.

                           ii.      Plaintiffs Rodgers and Powell

         Plaintiffs Rodgers and Powell fail to state gender discrimination claims, where they do not

plausibly allege certain requisite elements. In particular, plaintiff Rodgers fails to allege any facts

regarding her job performance, precluding the inference that she was qualified for her position or

was otherwise meeting her employer’s legitimate expectations. Moreover, plaintiff Powell fails to

allege different treatment of similarly situated employees outside the protected class. Although

plaintiff Powell alleges that she was suspended longer than Arrington, Arrington is a female, and

thus within the protected class. Accordingly, defendants’ motion is granted in this part, and

plaintiffs Rodgers’s and Powell’s gender discrimination claims are dismissed with prejudice.



12
          Defendants argue that plaintiff Wilson’s Title VII claims should be dismissed in light of Coleman v.
Maryland Court of Appeals, 626 F.3d 187 (4th Cir. 2010). In Coleman, the Fourth Circuit upheld dismissal of the
plaintiff’s Title VII race discrimination claim, where the plaintiff, a black male, made conclusory allegations that he
was fired because of race because a white employee with outside business involvements was not disciplined. 626
F.3d at 190. However, Coleman is instructively distinguishable from the instant matter, where in Coleman, “[t]he
complaint d[id] not even allege that [the white employee’s] “outside business involvements” were improper, let alone
that any impropriety was comparable to the acts [the plaintiff] was alleged to have committed.” 626 F.3d at 191.
Here, in contrast, Chambers and plaintiff Wilson were involved in the same transactions.

                                                         23



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                          iii.     Plaintiff Hunt

        Plaintiff Hunt fails to plausibly allege her termination was because of gender, where

plaintiff Hunt herself identifies defendant NEED’s reason for terminating her: that she did not

disclose her health condition underlying her request for additional FMLA leave. (Am. Compl.

(DE 37) ¶ 330). She also fails to allege any facts from which the court might reasonably infer this

reason was a pretext for gender discrimination.

        Accordingly, plaintiff Hunt’s claim for gender discrimination under Title VII is dismissed

with prejudice.

                 d.       Title VII Retaliation

        Plaintiffs Wilson, Hunt,13 and Powell allege they were retaliated against for engaging in

protected oppositional conduct.

        As relevant here, Title VII’s Opposition Clause makes it unlawful “for an employer to

discriminate against any of his employees . . . because he has opposed any practice made an

unlawful employment practice by this subchapter.” 42 U.S.C. § 2000e-3(a). The Fourth Circuit

“has articulated an expansive view of what constitutes oppositional conduct, recognizing that it

encompasses utilizing informal grievance procedures as well as staging informal protests and

voicing one’s opinions in order to bring attention to an employer’s discriminatory activities.”

DeMasters v. Carilion Clinic, 796 F.3d 409, 417 (4th Cir. 2015) (internal quotations omitted).




13
          Plaintiff Hunt alleges in a conclusory fashion that she “has opposed Defendants’ unlawful violation of her
rights under the law, to include but not limited to Title VII, FMLA, and the ADEA”, and she “has been injured as a
direct and proximate result of Defendants’ retaliation.” (Am. Compl. (DE 37) ¶¶ 389, 393). However, plaintiff Hunt
fails to allege that she engaged in any oppositional conduct, let alone protected oppositional conduct. In briefing,
plaintiff Hunt argues she was retaliated against for taking FMLA leave. The court addresses plaintiff Hunt’s FMLA
retaliation claim in section A(2)(f)(ii), infra.


                                                        24



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Moreover, “while the oppositional activity must be directed to an ‘unlawful employment practice’

under Title VII, 42 U.S.C. § 2000e–3(a),” the Fourth Circuit has “made clear that [courts] should

also interpret ‘unlawful employment practice’ broadly. Id. Indeed, “an employee is protected

when she opposes not only employment actions actually unlawful under Title VII but also

employment actions she reasonably believes to be unlawful, and the Title VII violation to which

the oppositional communication is directed may be complete, or it may be in progress.” Id.

(internal quotations omitted).

       In determining whether a plaintiff engaged in protected oppositional activity, “the

touchstone is whether the plaintiff’s course of conduct as a whole (1) communicates to her

employer a belief that the employer has engaged in a form of employment discrimination and (2)

concerns subject matter that is actually unlawful under Title VII or that the employee reasonably

believes to be unlawful.” Id. at 418 (emphasis in original) (internal quotations omitted). At

bottom, the employer must be aware “of an employee action that he understood or should have

understood to be opposition against a Title VII violation.” Strothers, 895 F.3d at 336. (internal

citation omitted). “When determining whether the employer should have understood the nature of

the employee’s action, courts examine not just the employee’s complaint but also the factual

context that is known to the employer.” Id.

                       i.        Plaintiff Wilson

       Plaintiff Wilson alleges that defendant Rogers planned to decrease her salary and another

senior staff member’s salary by $6,000 and $4,000 respectively, to balance the budget and to

increase two younger employees’ salaries by $3,000 each, “in an attempt by defendant Ginell

Rogers to discriminate against Plaintiff Gloria Wilson due to her age.” (Am. Compl. (DE 37) ¶¶

52-53, 55). Plaintiff Wilson further alleges that the use of her salary to balance the budget “was
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viewed as a threat and created a hostile work environment.” (Id. ¶ 88). Plaintiff Wilson “addressed

the Board of Directors about the deduction of the salary” and thereafter “the Board of Directors

directed Defendant Ginell Rogers to rescind the reduction of Plaintiff Gloria Wilson’s salary.” (Id.

¶ 78).

         Defendants argue, and the court agrees, that plaintiff Wilson fails to plausibly allege

engagement in protected oppositional conduct, where she fails to allege that she communicated to

defendant NEED that the proposed salary decrease was a form of employment discrimination. The

Fourth Circuit has held that employees need not use “magic words” such as “racial discrimination”

or “sexual harassment” to convey that they are opposing employment discrimination. Strothers,

648 F.3d at 224; Okoli v. City Of Baltimore, 648 F.3d 216, 224 n.8 (4th Cir. 2011). Instead,

general complaints of “harassment” are sufficient to put an employer on notice of the offending

conduct. Strothers, 648 F.3d at 224. Likewise, an employee’s “description of unethical, degrading

and dehumanizing” conduct [can] suggest severe misbehavior related to her identity—not a mere

workplace squabble.” Okoli, 648 F.3d at 224. Here, however, plaintiff Wilson has not alleged

any facts regarding what she stated to defendant Board of Directors when opposing her salary

decrease. Without such allegations, the court cannot ascertain whether plaintiff Wilson’s employer

understood or should have understood that plaintiff was opposing alleged employment

discrimination.

         Plaintiffs argue that plaintiff Wilson’s objection to her salary decrease is a protected

activity under the First Amendment. However, First Amendment protection is irrelevant to the

court’s present inquiry. Moreover, plaintiff Wilson fails to allege that defendant NEED is a

governmental entity, a necessary element in any First Amendment challenge. See Manhattan

Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1928 (2019) (“[T]he Free Speech Clause [of the
                                                26



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First Amendment] prohibits only governmental abridgment of speech. The Free Speech Clause

does not prohibit private abridgment of speech.”) (emphasis in original).

         Accordingly, plaintiff Wilson fails to state a claim for retaliation, and this claim is

dismissed with prejudice.14

                           ii.       Plaintiff Powell

         Plaintiff Powell alleges that she opposed her suspension without pay and demotion by

appealing those employment actions in accordance with defendant NEED’s personnel policies.

(Am. Compl. (DE 37) ¶ 177). During an appeal hearing before defendant Board of Directors,

plaintiff Powell’s attorney presented information “regarding the verbal suspension without pay

and the demotion.” (Id. ¶ 179). Moreover, when her appeal was referred to the PEC, plaintiff

Powell presented information “refuting all of Defendant Elton Powell’s allegations.” (Id. ¶ 183).

However, like plaintiff Wilson, plaintiff Powell fails to allege that she communicated to her

employer a belief that her suspension and demotion were forms of employment discrimination.

Indeed, she does not allege any facts regarding what her attorney presented to defendant Board of

Directors, or what she presented to the PEC. As a result, the court cannot ascertain if plaintiff

Powell’s employer understood she was opposing alleged employment discrimination. Plaintiff

Powell’s argument that her appeal was protected activity under the First Amendment also fails for




14
           Plaintiff Wilson alleges in a conclusory fashion “[f]rom February 9, 2018, Plaintiff Gloria Wilson has
opposed Defendants’ unlawful violation of her rights under the law, in include but not limited to Title VII, and the
ADEA.” (Am. Compl. (DE 37) ¶ 387). However, “a plaintiff’s obligation to provide the grounds of [her] entitlement
to relief requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of action will
not do.” Twombly, 550 U.S. at 555 (internal quotations omitted).

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reasons previously discussed. Accordingly, plaintiff Powell fails to state a claim for retaliation,

and this claim is dismissed with prejudice.15

                  e.       Hostile Work Environment

         Plaintiffs Wilson, Rodgers, Powell, and Hunt assert hostile work environment claims. Title

VII makes it unlawful for employers “to fail or refuse to hire or to discharge any individual, or

otherwise to discriminate against any individual with respect to his compensation, terms,

conditions, or privileges of employment, because of such individual’s race, color, religion, sex, or

national origin.”       42 U.S.C. § 2000e-2. “Since an employee’s work environment is a term or

condition of employment, Title VII creates a hostile working environment cause of action.”

E.E.O.C. v. Sunbelt Rentals, Inc., 521 F.3d 306, 313 (4th Cir. 2008). To state a hostile work

environment claim, a claimant must demonstrate that the alleged conduct: 1) was unwelcome; 2)

resulted because of her gender or age; 3) was sufficiently severe or pervasive to alter the conditions

of her employment; and 4) was imputable to her employer.” Boyer-Liberto v. Fountainebleau

Corp., 786 F.3d 264, 277 (4th Cir. 2015) (en banc); Causey v. Balog, 162 F.3d 795, 801 n.2 (4th

Cir. 1998) (assuming without deciding that a hostile work environment claim under the ADEA

exists where neither party disputed its existence).16

         Under element two, “an employee is harassed or otherwise discriminated against ‘because

of’ his or her gender [or age] if, ‘but for’ the employee’s gender [or age], he or she would not have




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         Plaintiff Powell alleges in a conclusory fashion “[f]rom May 21, 2018, Plaintiff Evelyn has opposed
Defendants’ unlawful violation of her rights under the law, in include but not limited to Title VII, and the ADEA.”
(Am. Compl. (DE 37) ¶ 388). However, “a plaintiff’s obligation to provide the grounds of [her] entitlement to relief
requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of action will not do.”
Twombly, 550 U.S. at 555 (internal quotations omitted).
16
         Likewise, where the parties in the present action do not dispute the existence of a hostile work environment
claim under the ADEA, the court assumes without deciding that one exists.
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been the victim of the discrimination.” Ziskie v. Mineta, 547 F.3d 220, 226 (4th Cir. 2008). A

plaintiff “may prove sex-based discrimination in the workplace even though she is not subjected

to sexual advances or propositions,” but can succeed only by showing that she “is the individual

target of open hostility because of her sex.” Id.

       Element three has “has both subjective and objective components.” Ocheltree v. Scollon

Prods., Inc., 335 F.3d 325, 333 (4th Cir. 2003) (en banc). Whether the environment is objectively

hostile or abusive is “judged from the perspective of a reasonable person in the plaintiff's

position.” Boyer-Liberto, 786 F.3d at 277 (citing Oncale v. Sundowner Offshore Servs., Inc., 523

U.S. 75, 81 (1998)). “That determination is made by looking at all the circumstances, which may

include the frequency of the discriminatory conduct; its severity; whether it is physically

threatening or humiliating, or a mere offensive utterance; and whether it unreasonably interferes

with an employee's work performance.” Id. (citing Harris v. Forklift Sys., Inc., 510 U.S. 17, 23

(1993)).

       Here, the court considers plaintiffs Wilson, Powell, Rodgers, and Hunt’s allegations

together because “evidence about how other employees were treated in that same workplace can

be probative of whether the environment was indeed a [ ] hostile one, even if the plaintiff did not

witness the conduct herself.” Ziskie v. Mineta, 547 F.3d 220, 225 (4th Cir. 2008). In briefing,

plaintiffs argue the following allegations demonstrate a hostile work environment: 1) when

plaintiff Powell was suspended, defendants Dr. Powell and Rogers moved her personal items,

including a refrigerator containing food, to a closet, and when plaintiff Powell returned from her

suspension, the food in the refrigerator was molded and multiple rodents and maggots were found

inside (Am. Compl. (DE 37) ¶¶ 298-300); 2) defendant Rogers told plaintiff Powell she had to

leave a conference in Greensboro and return to Rocky Mount, but the next day, defendant Rogers
                                                    29



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changed her mind, and plaintiff Powell had to drive back to Greensboro from Rocky Mount (Id.

¶¶ 250-54); 3) defendant Dr. Powell terminated plaintiff Powell in the presence of a private citizen,

a staff member, and defendant Collins, rendering the act the “most embarrassing and professionally

devastating experience of Plaintiff Powell’s life” (Id. ¶¶ 261-268); 4) defendant Dr. Powell

communicated to the teaching staff that if they are caught speaking or talking to plaintiff Powell

they will be reprimanded (Id. ¶ 256); 5) defendant Dr. Powell required the Head Start staff to sign

a document that he prepared regarding plaintiff Powell’s performance and threatened that if they

did not sign the document they would be terminated (Id. ¶ 255 ); 6) defendant Rogers required

plaintiff Powell to take annual leave to attend a re-entry program in Wilson (Id. ¶ 257); 7)

defendant Rogers publicly insulted staff by implying that staff is incompetent and cannot submit

documents without her assistance (Id. ¶ 259); 8) while on bereavement leave due to the death of

her brother, plaintiff Wilson learned that defendant Rogers submitted a proposal to decrease her

salary (Id. ¶¶ 74-75); 9) defendant Rogers emailed plaintiff Wilson at 4:00 p.m. on the day before

plaintiff Wilson was scheduled to leave for vacation, instructing her to complete a report by 5:00

p.m., and a result, plaintiff Wilson and her staff had to work until 8:00 p.m. to finish the report (Id.

¶¶ 80-81); 10) defendant Rogers never used the report and told plaintiff Wilson’s staff she did not

know why plaintiff Wilson made them stay after work to complete it (Id. ¶ 81-82); 11) defendant

Rogers tried to solicit negative comments from plaintiff Wilson’s staff regarding plaintiff Wilson’s

job performance (Id. ¶ 84); and 12) defendant Rogers gave plaintiff Wilson’s staff a copy of the

budget, which revealed everyone’s salaries and created animosity among the staff, and she used

plaintiff Wilson’s salary as an example of how the budget could be balanced. (Id. ¶¶ 85-86).




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       Even assuming arguendo that the above allegations occurred because of plaintiffs’ gender

or ages, these allegations, taken together, are not sufficiently severe or pervasive to alter the

conditions of plaintiffs’ employment. As the Fourth Circuit has explained:

       Workplaces are not always harmonious locales, and even incidents that would
       objectively give rise to bruised or wounded feelings will not on that account satisfy
       the severe or pervasive standard. Some rolling with the punches is a fact of
       workplace life. Thus, complaints premised on nothing more than rude treatment by
       coworkers, callous behavior by one’s superiors, or a routine difference of opinion
       and personality conflict with one’s supervisor, are not actionable under Title VII.

E.E.O.C. v. Sunbelt Rentals, Inc., 521 F.3d 306, 315–16 (4th Cir. 2008) (internal quotations

omitted).

       The cases relied on by plaintiffs are inapposite. For example, plaintiffs do not allege

anyone repeatedly questioned them about sexual topics and their bodies, as the harassers did in

Jennings v. Univ. of N. Carolina, 482 F.3d 686, 696–98 (4th Cir. 2007)(en banc) and E.E.O.C. v.

Fairbrook Medical Clinic, P.A., 609 F.3d 320, 329 (4th Cir. 2020), or that they were subjected to

demeaning epithets, like the plaintiffs in Spriggs v. Diamond Auto Glass, 242 F.3d 179, 184 (4th

Cir. 2001). Accordingly, plaintiffs fail to state a claim for hostile work environment, and these

claims are dismissed with prejudice.

                f.    FMLA

       The FMLA makes it “unlawful for any employer to interfere with, restrain, or deny the

exercise of or the attempt to exercise, any right provided under [the FMLA].” 29 U.S.C.

§ 2615(a)(1). Claims for violations of the prescriptive rights set forth in § 2615 are “known as

‘interference’ or ‘entitlement’ claims.” Yashenko v. Harrah’s NC Casino Co., 446 F.3d 541, 546

(4th Cir. 2006). Additionally, the FMLA “contains proscriptive provisions that protect employees

from discrimination or retaliation for exercising their substantive rights under the FMLA.”

                                                31



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Yashenko, 446 F.3d at 546. The retaliation provision states “[i]t shall be unlawful for any

employer to discharge or in any other manner discriminate against any individual for opposing any

practice made unlawful by this subchapter.” 29 U.S.C. § 2615(a)(2).

       Here, plaintiff Hunt brings claims for both retaliation and interference, which the court will

address in turn, below.

                      i.      Interference Claim

       To state an interference claim under the FMLA, a covered employee must establish “(1)

[s]he is entitled to an FMLA benefit; (2) h[er] employer interfered with the provision of that

benefit; and (3) that interference caused harm.” Adams v. Anne Arundel Cty. Pub. Sch., 789 F.3d

422, 427 (4th Cir. 2015) (citations omitted). Unlike a retaliation claim, employer intent is not

relevant in assessing an interference claim. Sharif, 841 F.3d at 203 (citations omitted). Among

other benefits, the FMLA provides that eligible employees “shall be entitled to a total of 12

workweeks of leave during any 12-month period . . . due to a serious health condition that makes

the employee unable to perform the functions of [her] position.” 29 U.S.C. § 2612(a)(1)(C). Upon

the employee’s return from FMLA leave, the employee is entitled “to be restored by the employer

to the position of employment held by the employee when the leave commenced; or to be restored

to an equivalent position with equivalent employment benefits, pay, and other terms and conditions

of employment.” 29 U.S.C. § 2614(a)(1).

       However, if an employee remains “unable to perform an essential function of the position”

at the termination of her FMLA leave, the employee has no right to restoration. 29 C.F.R. §

825.216(c). Accordingly, as several courts in this circuit have held, “an employer does not violate

the FMLA when it fails to reinstate an employee who is physically unable to return to work at the

conclusion of the twelve-week period of FMLA leave.” Ainsworth v. Loudon Cty. Sch. Bd., 851
                                                32



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F. Supp. 2d 963, 975 (E.D. Va. 2012); see Rodriguez v. Smithfield Packing Co., Inc., 545 F. Supp.

2d 508, 523 (D.Md.2008) (citing Edgar v. JAC Products, Inc., 443 F.3d 501, 513 (6th Cir.

2006) (“[I]nability to work at the end of the twelve-week period bars relief [under the FMLA]

because any prior violation caused no harm.”).

         Here, plaintiff Hunt suggests that defendant NEED interfered with her FMLA rights when

defendant Dr. Powell “verbally demoted” plaintiff Hunt by stating “the other Family Service

Health staff had worked hard this summer while she was out of work on FMLA leave and her new

position is a Teacher’s Assistant.” (Am. Compl. (DE 37) ¶ 326). However, on September 19,

2018, two days before plaintiff Hunt was scheduled to return from FMLA leave, she submitted a

letter from Dr. Vogel, stating that plaintiff needed to remain off work for an additional six months.

(Id. ¶ 331). Since plaintiff Hunt was unable to work at the conclusion of her 12 month FMLA

leave period, defendant NEED did not violate the FMLA by failing to reinstate plaintiff to her

previous position. See e.g., Ainsworth, 851 F. Supp. 2d at 975. Indeed, plaintiff Hunt’s alleged

demotion never took effect; 17 therefore, plaintiff fails to plausibly allege the third element of an

interference claim—that is—that the alleged demotion caused her harm. As such, plaintiff’s

FMLA interference claim must be dismissed with prejudice.

                           ii.      Retaliation Claim




17
         Plaintiff Hunt concedes this point by failing to address it in her response to defendants’ motion to dismiss.
See Feldman v. Law Enf’t Assocs. Corp., 955 F. Supp. 2d 528, 536 (E.D.N.C. 2013) (“The court finds that Perry has
conceded that summary judgment is appropriate on both the wage claim and the contract claim because he has failed
to respond to the arguments raised with respect to these claims in defendants’ memorandum in support of the motion
for summary judgment.”); McLean v. Leonard, No. 5:14-CV-718-FL, 2015 WL 5725818, at *6 (E.D.N.C. Sept. 30,
2015) (“Plaintiff conceded these arguments by failing to address them in response to defendants’ motion to dismiss.”).
Where plaintiff concedes the alleged demotion never took effect, she cannot rely on this employment decision for
purposes of her FMLA claims.


                                                         33



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         Plaintiff Hunt suggests defendant NEED terminated her in retaliation for taking FMLA

leave.18 To succeed on a claim of retaliation, a plaintiff must show “that she engaged in protected

activity, that the employer took adverse action against [her], and that the adverse action was

causally connected to the plaintiff’s protected activity.” Yashenko, 446 F.3d at 551 (citation

omitted).     “Unlike prescriptive entitlement or interference claims, employer intent here is

relevant.” Sharif v. United Airlines, Inc., 841 F.3d 199, 203 (4th Cir. 2016).

         The court focuses on the first requirement of a retaliation claim—engagement in a

protected activity. In order to trigger FMLA protection, an employee must “provide notice to her

employer when she requires FMLA leave.” Rhoads v. F.D.I.C., 257 F.3d 373, 382–83 (4th Cir.

2001). Upon receiving such notice, employers are “expected to obtain any additional required

information through informal means.” 29 C.F.R. § 825.303 (b). Accordingly, “[a]n employee has

an obligation to respond to an employer’s questions designed to determine whether an absence is

potentially FMLA–qualifying.” Id. Indeed, “[f]ailure to respond to reasonable employer inquiries

regarding the leave request may result in denial of FMLA protection if the employer is unable to

determine whether the leave is FMLA–qualifying.” Id.

         Here, plaintiff Hunt alleges that on September 19, 2018, two days before she was scheduled

to return to work from FMLA leave, she submitted a letter to defendant NEED from Dr. Vogel

stating that “Plaintiff Hunt was under her care for a medical condition and needs to remain off

work for six (6) months.” (Am. Compl. (DE 37) ¶ 331).                      On September 21, 2018, defendant

Rogers “aggressively pressured” plaintiff Hunt to disclose the medical condition that required her


18
          The Fourth Circuit addresses claims of retaliation for taking FMLA leave as retaliation claims under §
2615(a)(2) rather than interference claims under § 2615(a)(1). See Yashenko, 446 F.3d at 551. Recently, the Fourth
Circuit questioned this approach, in light of the Department of Labor’s interpretation of § 2615(a), but did not disturb
it. Fry v. Rand Constr. Corp., _ F. 3d _, 2020 WL 3550689, at *5 (4th Cir. 2020). Accordingly, the court construes
plaintiff’s allegation that she was retaliated against for taking FMLA leave as a retaliation claim under § 2615(a)(2).
                                                          34



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to take additional FMLA leave. (Id. ¶ 347). However, plaintiff Hunt believed that the letter from

Dr. Vogel was sufficient, and she did not return to work. (Id. ¶ 334). Thereafter, plaintiff Hunt

received a letter from defendant Rogers dated October 29, 2018, advising her she was terminated

for not disclosing the medical condition associated with her request for FMLA leave. (Id. ¶ 333).

       Defendants argue, and the court agrees, that plaintiff Hunt fails to plausibly allege she

engaged in a protected activity, where she refused to disclose the medical condition underlying her

FMLA leave request. The plain language of the FMLA’s implementing regulations supports this

conclusion, where it states “[f]ailure to respond to reasonable employer inquiries regarding the

leave request may result in denial of FMLA protection.” 29 C.F.R. § 825.303 (b).

       Although the Fourth Circuit has not addressed this precise issue, in the unpublished

opinion, Peeples v. Coastal Office Prod., Inc., 64 F. App’x 860, 863 (4th Cir. 2003), the Fourth

Circuit considered an FMLA claim raised under similar circumstances. In Peeples, a plaintiff

suffering from depression and anxiety took more than three weeks off from work. 64 F. App’x at

860. At the outset of his long absence, the only information plaintiff provided his employer was

an emergency room note that stated “he was not to return to work for a week.” Id. at 861-63. The

following week, plaintiff submitted a note from his physician stating that he was “not yet ready to

resume work.” Id. at 863. Over the next couple of weeks, plaintiff’s employer “tried repeatedly

to solicit information from [plaintiff] in order to assess his needs. However, [plaintiff] refused to

provide any information that might have triggered [his employer’s] duties under the FMLA.” 64

F. App’x at 863.

       In effect, the Fourth Circuit held that plaintiff’s employer “was utterly incapable of making

a preliminary determination as to whether [plaintiff’s] absence was justified . . . because [plaintiff]

and his doctor were providing incomplete responses, indeed, dishonest responses, to defendant’s
                                                  35



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informal requests for information.” Id. at 864. “In such a situation, when notice of a possible

serious medical condition is deliberately withheld and false information is given, it cannot be said

that an employee has been terminated in violation of the FMLA.” Id. (citing Gay v. Gilman Paper

Co., 125 F.3d 1432, 1436 (11th Cir. 1997)).

       Here, as in Peeples, plaintiff alleges she submitted a doctor’s note that indicated she needed

to take time off from work. Thereafter, plaintiff refused to disclose her underlying medical

condition to her employer, precluding her employer from determining whether she qualified for

FMLA leave. Accordingly, plaintiff fails to plausibly allege that she engaged in protected activity,

and her FMLA retaliation claim must be dismissed with prejudice.

               g.      Wrongful Termination

       Plaintiffs Wilson, Rodgers, and Hunt assert NCEEPA claims, on grounds that plaintiffs

Wilson and Rogers were wrongfully terminated due to their ages and gender, and plaintiff Hunt

was wrongfully terminated for taking FMLA leave and because of her gender. Under North

Carolina law, an employee-at-will may bring a cause of action against his employer for terminating

him in violation of public policy. Kurtzman v. Applied Analytical Indus., Inc., 347 N.C. 329, 331

(1997). NCEEPA provides “[i]t is the public policy of this State to protect and safeguard the right

and opportunity of all persons to seek, obtain and hold employment without discrimination or

abridgement on account of race, religion, color, national origin, age, sex or handicap by employers

which regularly employ 15 or more employees.” N.C. Gen. Stat. § 143-422.2(a); see also Bigelow

v. Town of Chapel Hill, 227 N.C. App. 1, 13 (2013) (“A retaliatory firing based upon an

employee’s filing of a claim of discrimination in the workplace clearly violates public policy and

could support a wrongful discharge claim.”).



                                                36



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        The court applies the same standards of proof for a wrongful termination as it does under

Title VII. N. Carolina Dep’t of Corr. v. Gibson, 308 N.C. 131, 136 (1983) (“[W]e look to federal

decisions for guidance in establishing evidentiary standards and principles of law to be applied in

discrimination cases.”). Moreover, with some exceptions, where Title VII and the ADEA exhibit

similar language and are indeed “statutory kin,” Birkbeck v. Marvel Lighting Corp., 30 F.3d 507,

510 (4th Cir. 1994), the standards applicable to an ADEA claim also govern claims of age

discrimination under NCEEPA. See Hughes, 48 F.3d at 1383.

        For the same reasons that the court denies defendants’ motion to dismiss plaintiffs Wilson’s

ADEA and gender discrimination claims, the court denies defendants’ motion to dismiss plaintiff

Wilson’s NCEEPA claims. Likewise, where the court grants defendants’ motion to dismiss

plaintiffs Rodgers’s and Hunt’s gender discrimination claims, and plaintiffs Rodgers’s ADEA

claim, and it also grants defendants’ motion to dismiss plaintiffs Rodger’s and Hunt’s NCEEPA

claims.19 Plaintiffs Rodgers’s and Hunts’ NCEPPA claims are dismissed with prejudice.

                 h.      Intentional Infliction of Emotional Distress

        Plaintiffs Wilson, Rodgers, Powell, and Hunt brings claims for intentional infliction of

emotional distress.

        “Elements of this tort are (1) extreme and outrageous conduct by the defendant, (2) which

is intended to cause and does cause (3) severe emotional distress to another.” Turner v. Thomas,

369 N.C. 419, 427 (2016). “[E]xtreme and outrageous conduct is that which exceeds all bounds

of decency tolerated by society.” Id. The second element may be satisfied “where defendant’s

actions indicate a reckless indifference to the likelihood that they will cause severe emotional



19
        The court declines to address whether termination in violation of the FMLA could support a wrongful
discharge claim, where plaintiff Hunt fails to state a claim under the FMLA, as set forth in more detail herein.
                                                      37



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distress.”     Dickens v. Puryear, 302 N.C. 437, 452 (1981). Under the third element, “‘severe

emotional distress’ means any emotional or mental disorder, such as, for example, neurosis,

psychosis, chronic depression, phobia, or any other type of severe and disabling emotional or

mental condition which may be generally recognized and diagnosed by professionals trained to do

so.” Johnson v. Ruark Obstetrics & Gynecology Assocs., P.A., 327 N.C. 283, 304 (1990).

         Here, plaintiffs fail to allege extreme and outrageous conduct that exceeds all bounds of

decency. The court has already determined that plaintiffs fail to state hostile work environment

claims, and as the Fourth Circuit has held, “it would defy reason to allow a claim for

outrageousness of conduct go forward when the district court has already determined that the

factual predicate for such an action does not exist, that is, that the conduct complained of, in a full

contextual analysis was not sufficiently egregious to create an abusive or hostile environment.”

Dwyer v. Smith, 867 F.2d 184, 194–95 (4th Cir. 1989). Moreover, “[i]n employment actions,

North Carolina courts have been reluctant to find intentional infliction of emotional distress claims

actionable.” Bray v. Tenax Corp., 905 F. Supp. 324, 330 (E.D.N.C. 1995); see also Swaim v.

Westchester Acad., Inc., 170 F. Supp. 2d 580, 584 (M.D.N.C. 2001) (citing Wilson v. S. Nat’l

Bank of N. Carolina, 1996 WL 445088, at *5 (4th Cir. Aug. 8, 1996) (unpublished)) (“Rarely will

conduct in the employment context rise to the level of outrageousness necessary to provide a basis

for recovery for the tort of intentional infliction of emotional distress.”).

         Accordingly, plaintiffs fail to state a claim for intentional infliction of emotional distress,

and these claims are dismissed with prejudice.20


20
         Plaintiffs appear to be arguing that, because defendant Rogers allegedly did not follow defendant NEED’s
policies when she discharged plaintiffs Wilson and Rogers, defendant Rogers’s actions constituted outrageous conduct
under McCormick v. AT&T Tech. Inc., 934 F.2d 531 (4th Cir. 1991). Plaintiffs’ reliance on McCormick is misplaced.
In McCormick, the Fourth Circuit considered whether the plaintiff’s intentional infliction of emotional distress claim
was preempted by § 301 of the Labor Management Relations Act of 1947, 29 U.S.C. § 185(a). 934 F.2d at 535. The
                                                         38



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                  i.       Defamation

         Plaintiff Powell brings a defamation claim against defendant NEED.21

         Slander is spoken defamation and libel is written defamation. Greer v. Skyway Broad. Co.,

256 N.C. 328, 390-91 (1962). As relevant here, to plead a claim for defamation per se in North

Carolina, plaintiff must allege that:

         (1) defendant spoke or published base or defamatory words which tended to
         prejudice [plaintiff] in [her] reputation, office, trade, business or means of
         livelihood or hold [plaintiff] up to disgrace, ridicule or contempt; (2) the statement
         was false; and (3) the statement was published or communicated to and understood
         by a third person.

Cummings v. Lumbee Tribe, 590 F.Supp.2d 769, 774 (E.D.N.C. 2008) (internal quotation marks

omitted); Renwick v. News & Observer Pub. Co., 310 N.C. 312, 317 (1984) (“Under the well

established common law of North Carolina, a libel per se is a publication . . . when considered

alone without innuendo, colloquium or explanatory circumstances . . . tends to impeach a person

in that person’s trade or profession”). Alternatively, if extrinsic or explanatory evidence is needed

in connection with the words to show they have defamatory character, then plaintiff must prove

defamation per quod. Cummings, 590 F.Supp.2d at 774. This claim is composed of the same

elements of defamation per se, with the additional requirements of: (4) special damages and (5)

malice. Id.




court held that the intentional infliction of emotional distress claim was preempted, since resolution of the claim would
require interpretation of the collective bargaining agreement to determine whether the employer was authorized to act
as it did. Id. at 535-38. McCormick does not stand for the general proposition that all acts committed without
authorization are extreme and outrageous, giving rise to liability for intentional infliction of emotional distress.
21
         Plaintiff Powell brings this claim against “Defendant Employer, through its authorized employees (Ginell
Rogers and Elton Powell) action on behalf of Employer.” (Am. Compl. (DE 37) ¶ 415) (parenthesis in original).
Since defendant NEED is plaintiff Powell’s employer, the court considers this claim to be brought against defendant
NEED.
                                                          39



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        Here, plaintiff Powell alleges that defendant Rogers and Dr. Powell “stated electronically,

or in writing, or orally to the Policy Counsel, private consultant and staff that Plaintiff Evelyn

Powell committed fraud by making counterfeit CPR Certification Cards.” (Am. Compl. (DE 37)

¶¶ 415-16). Plaintiff Powell alleges that this conduct “constitutes libel per se and or slander per

se in that false statements impute to Plaintiff the commission of some criminal offense involving

moral turpitude for which Plaintiff, if the charge is true, may be indicted and punished; and further,

these statements prejudiced Plaintiff in her reputation as County Commissioner, trade, educator,

or means of livelihood.” (Id. ¶ 417).

        Defendants argue these allegations are insufficient to state a claim for defamation per se

because plaintiff fails to allege publication to a third person. According to defendants, the alleged

statements regarding CPR training cards were intracorporate communications, and defendants cite

Dale v. Red Hat, Inc., No. 5:18-CV-262-BO, 2018 WL 6172516, at *3 (E.D.N.C Nov. 26, 2018)

for the proposition that “in the employment context, agents and employees of a single employer

are not considered third persons to the employer or to each other.”

        While plaintiff Powell alleges the defamatory statement was made to defendant NEED’s

staff members and defendant Board of Directors, she also alleges the statement was made to a

private consultant. In later stages of this litigation, defendants can argue the private consultant is

an agent of defendant NEED by proffering appropriate evidence. However, at this preliminary

stage, drawing all reasonable inferences in favor of plaintiff Powell, plaintiff Powell has plausibly

alleged that the defamatory statement was “published” through its conveyance to a private

consultant. Accordingly, plaintiff Powell states a claim for defamation, and defendants’ motion

to dismiss is denied in this part.

                j.      Negligent Hiring, Retention, and Supervision
                                                 40



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        A claim for negligent, hiring, retention, and supervision is “entirely independent of the

employer’s liability under the doctrine of respondeat superior.” Braswell v. Braswell, 330 N.C.

363, 373 (1991) (emphasis in original). To state a claim, plaintiffs must allege

        (1) the specific negligent act on which the action is founded . . . [;] (2)
        incompetency, by inherent unfitness or previous specific acts of negligence, from
        which incompetency may be inferred; [] (3) either actual notice to the master of
        such unfitness or bad habits, or constructive notice, by showing that the master
        could have known the facts had he used ordinary care in ‘oversight and
        supervision,’ . . . ; and (4) that the injury complained of resulted from the
        incompetency proved.

Medlin v. Bass, 327 N.C. 587, 590–91 (1990) (emphasis omitted) (quoting Walters v. Lumber Co.,

163 N.C. 536, 541 (1913)); see Pleasants v. Barnes, 221 N.C. 173, 177 (1942). An employer’s

liability for negligent supervision and retention also extends to an incompetent employee’s

intentional torts. See, e.g., Wegner v. Delly-Land Delicatessen, Inc., 270 N.C. 62, 65 (1967);

Lamb v. Littman, 128 N.C. 361, 363–64 (1901).

        Turning to element one, plaintiffs allege that defendant Dr. Powell was negligent in

demoting plaintiff Hunt without written notice, as required by defendant NEED’s policies, and

defendants Rogers and Dr. Powell were negligent in terminating plaintiffs Wilson and Rodgers

without issuing a written reprimand first, as required by defendant NEED’s policies. (Am. Compl.

(DE 37) ¶¶ 119-120; Resp. (DE 42) at 22).22 Defendants argue, however, that North Carolina is

an employment at-will state, and employers can terminate employees for any rational or irrational

reason, with or without notice, without liability in negligence, citing Elhassan v. Proctor & Gamble

Mfg. Co., No. 1:12-CV-1039, 2014 WL 1281231, at *7 (M.D.N.C. Mar. 27, 2014).




22
         Plaintiffs also argue defendant Dr. Powell was negligent for suspending plaintiff Powell for six months
without pay for merely investigating an alleged incident. However, plaintiffs fail to explain how such behavior
constitutes negligence.
                                                      41



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          Although North Carolina is an employment at-will state, North Carolina courts have carved

out a limited exception to the at-will doctrine, when an employer fails to follow its personnel

policies and procedures. For this narrow exception to apply, the employer’s policies or procedures

must be expressly included in the employment contract, and the policies and procedures must

indicate that employees will be terminated for “just cause” only. See Soles v. City of Raleigh Civil

Serv. Comm’n, 345 N.C. 443, 446–47 (1997); Harris v. Duke Power Co., 319 N.C. 627, 630

(1987).

          Here, plaintiffs have alleged that defendant NEED’s policies required defendant Rogers

to give plaintiffs Wilson and Rodgers written reprimands prior to terminating them and defendant

Dr. Powell to give plaintiff Hunt written notice before demoting her. (Am Compl. (DE 37) ¶¶

119-20, 327). However, plaintiffs fail to allege that defendant NEED’s policies were expressly

included in their employment contracts or that defendant NEED’s policies provided that

employees would be terminated for “just cause” only. Without these allegations, plaintiffs have

not plausibly alleged that defendant NEED had a duty to follow its policies and procedures.

          Plaintiffs also argue that Defendants Rogers’s and Powell’s alleged defamation of plaintiff

Powell constitutes tortious conduct for purposes of element one. However, plaintiffs fail to allege

that defendant NEED had actual or constructive notice of defendants Dr. Powell’s and Rogers’s

alleged defamatory tendencies. Plaintiffs allege that defendant Rogers was not the top candidate

for the Executive Director position, and she lacked supervisory experience. (Am. Compl. (DE 37)

¶¶ 399-400).      Moreover, plaintiffs allege defendant Rogers had never managed a budget

comparable to defendant NEED’s budget before she was hired as the Executive Director. (Id. ¶

400).     Regarding defendant Dr. Powell, plaintiffs allege that he did not have “equivalent

supervisory experience” or any experienced leading a Head Start program. (Id. ¶ 404). In addition,
                                                  42



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plaintiffs allege he was not knowledgeable regarding Head Start rules and regulations. (Id.). Even

construing these allegations in the light most favorable to plaintiffs, defendant Roger’s lack of

budgetary or supervisory experience, and defendant Dr. Powell’s unfamiliarity with Head Start

regulations, could not put defendant NEED on notice that defendants Rogers and Dr. Powell would

allegedly defame one of its employees. Accordingly, plaintiffs’ negligent hiring, retention, and

supervision claims are dismissed with prejudice.

                  k.    Dismissals with Prejudice

         Where plaintiffs have sought to amend their complaint twice, informed by two rounds of

briefing on motions to dismiss, it is unlikely that further amendment to the factual allegations will

cure the deficiencies in plaintiffs’ claims, and dismissal in this instance is with prejudice.

B.       Motion to Amend

         1.       Standard of Review

         Where, as here, a party seeks leave to amend after a responsive pleading or Rule 12(b)

motion has been filed, the party “may amend its pleading only with the opposing party’ s written

consent or the court’ s leave.” Fed. R. Civ. P. 15(a)(2). “The court should freely give leave when

justice so requires.” Id. “In the absence of any apparent or declared reason–such as undue delay,

bad faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies by

amendments previously allowed, undue prejudice to the opposing party by virtue of allowance of

the amendment, futility of amendment, etc.–the leave sought should, as the rules require, be ‘freely

given.’” Foman v. Davis, 371 U.S. 178, 182 (1962). With respect to futility, the court may deny

leave to amend “if the proposed amended complaint fails to state a claim under the applicable rules

and accompanying standards.” Katyle v. Penn Nat. Gaming, Inc., 637 F.3d 462, 471 (4th Cir.

2011).
                                                  43



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       2.       Analysis

       Plaintiffs seek to join Dr. Blue as a plaintiff, and plaintiff Powell seeks to assert NCEEPA

and retaliation claims, as well as allege additional facts in support of her ADEA; gender

discrimination; hostile work environment; negligent hiring, retention, and supervision; and

intentional infliction of emotional distress claims. Defendants oppose the instant motion to amend

on grounds that: 1) plaintiffs failed to file an accompanying memorandum, in contravention of

Local Civil Rule 7.1(e); 2) joinder of Dr. Blue is improper under Federal Rule of Civil Procedure

20(a); and 3) plaintiff Powell’s proposed amendments are futile.

       As an initial matter, plaintiffs filed a memorandum in support of the instant motion to

amend on August 23, 2020, rendering moot defendants’ first argument in opposition. Accordingly,

the court turns to defendants’ argument that joinder of Dr. Blue is improper under Federal Rule of

Civil Procedure.

                a.      Proposed Joinder of Dr. Blue

       As relevant here, Federal Rule of Civil Procedure 20(a) provides:

       [p]ersons may join in one action as plaintiffs if:

                (A) they assert any right to relief jointly, severally, or in the alternative with
                respect to or arising out of the same transaction, occurrence, or series of
                transactions or occurrences; and

                (B) any question of law or fact common to all plaintiffs will arise in the
                action.

Fed. R. Civ. P. 20(a)(1). According to the Fourth Circuit, “Rule 20 gives courts wide discretion

concerning the permissive joinder of parties, and should be construed in light of its purpose, which

is to promote trial convenience and expedite the final determination of disputes, thereby preventing

multiple lawsuits.” Aleman v. Chugach Support Servs., Inc., 485 F.3d 206, 218 n.5 (4th Cir. 2007).

                                                   44



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Importantly, “[t]he court has discretion to deny joinder if it determines that the addition of the

party under Rule 20 will not foster the objectives of the rule, but will result in prejudice, expense,

or delay.” Id.

       Here, although Dr. Blue alleges that defendant NEED engaged in a pattern or practice of

gender and age discrimination, Dr. Blue’s proposed claims are based upon discrete events that

occurred predominantly from January 7, 2019, until August 21, 2019, well after defendant NEED

terminated plaintiffs Hunt, Rodgers, and Wilson. (Prop. 2d. Am. Compl. (DE 45-1) ¶¶ 353-372).

The Fourth Circuit has not addressed whether such pattern or practice allegations satisfy the

joinder requirements of Rule 20(a). While recognizing that a court within the Fourth Circuit has

held that “pattern and practice” claims necessarily satisfy both the “transaction” and “common

questions” prongs of Rule 20(a), see King v. Ralston Purina Co., 97 F.R.D. 477, 480 (W.D.N.C.

1983), this court previously severed certain plaintiffs’ claims, where they relied upon “pattern and

practice” allegations of police misconduct in Ballentine v. Town of Coats, No. 5:11-CV-524-FL,

2012 WL 4471605, at *3 (E.D.N.C. Sept. 26, 2012). In Ballentine, the court found that “[w]hile

different plaintiffs appear to have claims in common, their claims involve alleged events taking

place at different times, in different places, with different groupings of defendants.” Ballentine v.

Town of Coats, No. 5:11-CV-524-FL, 2012 WL 4471605, at *4 (E.D.N.C. Sept. 26, 2012). As a

result, the court found that “[t]he different evidence plaintiffs would necessarily need to prove

their claims, and the types of defenses anticipated to be raised, pose a high risk of confusion,

prejudice, and delay.” Ballentine v. Town of Coats, No. 5:11-CV-524-FL, 2012 WL 4471605, at

*4 (E.D.N.C. Sept. 26, 2012).

       Here, as in Ballentine, Dr. Blue seeks to assert similar claims as plaintiffs; however, these

claims are predicated upon wholly discrete events that occurred much later than the events already
                                                 45



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pleaded. Accordingly, the court finds that the risk of prejudice, confusion, and delay precludes

joinder of Dr. Blue in the instant action. Plaintiffs arguments to the contrary are misplaced, where

plaintiffs rely on Federal Rule of Civil Procedure 15(a)(2) in support of the instant motion, and do

not address whether joinder is proper under Rule 20(a). Accordingly, the court denies without

prejudice plaintiffs’ motion to amend in this part.

               b.      Plaintiff Powell’s Proposed Amendments

       Plaintiff Powell seeks to assert retaliation and NCEEPA claims and allege additional facts

in support of her ADEA; gender discrimination; hostile work environment; negligent hiring,

retention, and supervision; and intentional infliction of emotional distress claims. Defendants

oppose the amendments on futility grounds.

       As an initial matter, the court grants that part of plaintiffs’ motion to amend seeking to

allege additional facts that are relevant to plaintiff Wilson’s ADEA and gender discrimination

claims, where the court has found that those claims survive motion to dismiss, as set forth in more

detail herein. The court addresses plaintiff Powell’s proposed amendments, in turn below. In the

interest of judicial economy, the court incorporates by reference its earlier discussion of legal

principles and standards that apply to the following claims.

                       i.      Retaliation

       In support of her proposed retaliation claim, plaintiff Powell alleges that from March 14,

2019, through May 23, 2019, she submitted information to the Head Start Region IV office

regarding “the corruption at NEED this past spring.” (Prop. Am. Compl. (DE 45-1) ¶ 404).

Specifically, plaintiff Powell reported that defendant Rogers altered many of the documents that

were requested by the regional team. (Id.). Moreover, plaintiff Powell alleges she made the Head

Start agency aware that defendant NEED did not have enough teachers to open the education
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centers in August 2019 because defendant Rogers did not fill those positions in time. (Id. ¶ 406).

Plaintiff Powell alleges that she was terminated in retaliation for reporting the foregoing

information. (Id. ¶ 408).

       Plaintiff Powell fails to state a claim for retaliation, where she fails to plausibly allege that

she engaged in protected oppositional activity. Protected “opposition activity encompasses

utilizing informal grievance procedures as well as staging informal protests and voicing one’s

opinions in order to bring attention to an employer’s discriminatory activities.” Laughlin v. Metro.

Washington Airports Auth., 149 F.3d 253, 259 (4th Cir. 1998) (emphasis added). Although

plaintiff Powell alleges she engaged in oppositional activity by reporting defendant NEED’s

misconduct to Head Start, the misconduct she reported was not discrimination. Rather, she

reported that defendant Rogers allegedly altered documents and failed to fill certain positions on

time. Importantly, “Title VII is not a general bad acts statute, [ ] and it does not prohibit private

employers from retaliating against an employee based on her opposition to [ ] practices that are

outside the scope of Title VII.” Bonds v. Leavitt, 629 F.3d 369, 384 (4th Cir. 2011); Lightner v.

City of Wilmington, N.C., 545 F.3d 260, 264 (4th Cir. 2008) (Title VII is not a general

whistleblower statute.). Accordingly, plaintiff Powell fails to state a claim for retaliation under

Title VII.

       To the extent plaintiff Powell seeks to assert a retaliation claim under North Carolina

Whistleblower Protection Act (“NCWPA”), such claim also fails, where plaintiff Powell does not

allege that defendant NEED is a state employer. See N.C. Gen. Stat. §§ 126-84, 126-85; see also

Johnson v. Forsyth Cty., 227 N.C. App. 276, 277 (2013) (Individuals who are not state employees

“[are] not entitled to protection under the provisions of the North Carolina Whistleblower Act.”).

Likewise, plaintiff fails to state a claim under the Whistleblower Protection Act, where plaintiff
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does not allege that defendant NEED is a federal employer. See 5 U.S.C. § 1221; see also Bunce

v. Comput. Scis. Corp., 113 F. Supp. 3d 234, 237 (D.D.C. 2015) (“[A]n individual remedy for

retaliation for whistleblowing is provided by federal law in appropriate cases . . . This remedy,

however, is available only to ‘an employee, former employee, or applicant for employment’ of the

United States.”) (citing 5 U.S.C. §§ 1221(a); 2105(a)).23 Accordingly, plaintiffs’ motion to amend

is denied in this part on futility grounds.

                           ii.       NCEEPA

         Plaintiff Powell seeks to bring a NCEEPA claim, on grounds that she was wrongfully

terminated on August 21, 2019, due to her gender and age. However, plaintiff Powell’s proposed

NCEEPA claim fails, where she does not plausibly allege that she was meeting her employer’s

legitimate expectations, a requisite element of discriminatory discharge claims under the ADEA

and Title VII. See Westmoreland v. TWC Admin. LLC, 924 F.3d 718, 725 (4th Cir. 2019)

(providing the elements of an ADEA discriminatory discharge claim); Coleman v. Maryland Court

of Appeals, 626 F.3d 187, 190 (4th Cir. 2010) (stating the elements of a Title VII discrimination

claim); N. Carolina Dep’t of Corr. v. Gibson, 308 N.C. 131, 136 (1983) (“[W]e look to federal

decisions for guidance in establishing evidentiary standards and principles of law to be applied in

discrimination cases.”).

         Importantly, plaintiff Powell’s termination letter indicated that she was fired due to her

“inefficiency, negligence, or incompetence” as well as her “failure to obey supervisor’s

instructions and discourteous acts towards co-workers.” (Prop. 2d. Am. Compl. (DE 45-1) ¶¶

361).    After plaintiff Powell appealed her termination, a Special Committee voted to uphold her


23
          Plaintiff Powell does not cite any cases, nor is the court aware of any, supporting her argument that a private
entity’s employees may sue under the NCWPA or the WPA merely because the private entity receives state or federal
funding.
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termination due to “unsatisfactory job performance.” (Id. ¶ 367). Plaintiff attempts to dispute

defendant NEED’s assessment of her job performance by 1) providing examples of required tasks

that she completed, 2) citing a previous positive performance evaluation, and 3) explaining that

she did not realize defendant Rogers would be offended when she called her a “little girl.” (Id. ¶¶

361, 364). However, “[i]t is the perception of the decision maker which is relevant, not the self-

assessment of the plaintiff.” Evans v. Techs. Applications & Serv. Co., 80 F.3d 954, 960–61 (4th

Cir. 1996).

        Accordingly, plaintiffs’ motion to amend is denied in this part on futility grounds.

                        iii.    Age and Gender Discrimination

        As stated in more detail herein, plaintiff Powell fails plausibly allege she was suspended

because of her age and gender, where she fails to allege different treatment of similarly situated

individuals outside of her protected age and gender classes. In particular, plaintiff Powell alleges

that Arrington received a shorter suspension, but she alleges that Arrington is female, and fails to

allege Arrington’s age. Plaintiff Powell’s additional allegations, set forth in the proposed second

amended complaint, do not correct these deficiencies. Accordingly, plaintiffs’ motion to amend

is denied in this part on futility grounds.

                        iv.     Hostile Work Environment

        In support of her hostile work environment claim, plaintiff Powell alleges that she was: “1)

unfairly and harshly criticized for no[n] legitimate reasons; 2) unfairly blamed for the poor work

of others; 3) denied appropriate training or instruction and, when seeking out instruction or

training, being chastised for doing so; 4) had [her] suggestions and requests dismissed and

disregarded; 5) unfairly and unreasonably embarrassed in front of colleagues so as to become

ostracized in the office; 6) issued false letters of reprimand and had [her] personnel file papered
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with false documentation; 7) had [her] annual performance review unfairly deflated; 8) blocked

from attending important meetings; and 9) yelled at and subjected to threatening leering.” (Prop.

2d. Am. Compl. (DE 45-1) ¶ 393).

       Even assuming the foregoing conduct was done on the basis or age or sex, these allegations,

taken together, are not sufficiently severe or pervasive to alter the conditions of plaintiffs’

employment. As the Fourth Circuit has explained:

       Workplaces are not always harmonious locales, and even incidents that would
       objectively give rise to bruised or wounded feelings will not on that account satisfy
       the severe or pervasive standard. Some rolling with the punches is a fact of
       workplace life. Thus, complaints premised on nothing more than rude treatment by
       coworkers, callous behavior by one’s superiors, or a routine difference of opinion
       and personality conflict with one’s supervisor, are not actionable under Title VII.

E.E.O.C. v. Sunbelt Rentals, Inc., 521 F.3d 306, 315–16 (4th Cir. 2008) (internal quotations

omitted). Accordingly, plaintiffs’ motion to amend is denied in this part on futility grounds.

                       v.      Intentional Infliction of Emotional Distress

       Where plaintiff Powell fails to plausibly allege conduct sufficiently severe and pervasive

to alter the conditions of her workplace, she likewise fails to allege “extreme and outrageous

conduct that exceeds all bounds of decency”, a requisite element of her proposed IIED claim. See

Dwyer v. Smith, 867 F.2d 184, 194–95 (4th Cir. 1989) (“[I]t would defy reason to allow a claim

for outrageousness of conduct go forward when the district court has already determined that the

factual predicate for such an action does not exist, that is, that the conduct complained of, in a full

contextual analysis was not sufficiently egregious to create an abusive or hostile environment.”).

Accordingly, plaintiffs’ motion to amend is denied in this part on futility grounds.

                       vi.     Negligent Hiring, Retention, and Supervision




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       As stated in more detail herein, plaintiffs’ failure to allege that defendant NEED had actual

or constructive notice of defendants Dr. Powell’s and Rogers’s alleged defamatory tendencies is

fatal to their claim for negligent hiring, retention, and supervision. Plaintiff Powell’s additional

allegations, set forth in the proposed second amended complaint, do not correct this deficiency.

Accordingly, plaintiffs’ motion to amend is denied in this part on futility grounds.

       In sum, plaintiffs’ motion to amend is granted where plaintiffs seek to allege additional

facts relevant to plaintiff Wilson’s ADEA and gender discrimination claims, but it is denied in

remaining part.

C.     Initial Planning and Scheduling

       Pursuant to Federal Rule of Civil Procedure 26(f), the court sets the following deadlines

and requirements for conference activities, initial disclosures, and for submission of the parties’

joint status report and proposed plan for discovery.

       1.       Rule 26(f) Conference

       Unless good cause is shown in request for exemption or stay, and the court orders

otherwise, the Rule 26(f) conference must occur on or before 21 days from entry of this order.

The parties are jointly responsible for arranging the conference, which shall involve counsel for

each represented party and all unrepresented parties, and for attempting in good faith to agree on

a proposed plan for completion of discovery, filing of motions, pretrial and trial activities, and

other matters addressed in this order.

       2.       Initial Disclosures

       Mandatory initial disclosures required by Rule 26(a)(1) must be made within 14 days after

the Rule 26(f) conference, unless (a) a different time is set by stipulation of parties or court order,

or (b) a party objects during the Rule 26(f) conference and states the objection and the response
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thereto in the report and plan filed with the court. Absent a stipulation or court order, any party

first served or otherwise joined after the conference must make these disclosures within 30 days

after being served or joined.

        Failure to disclose information required by Rule 26(a) or 26(e)(1) may subject the

offending party or parties to sanctions pursuant to Rule 37. In order to facilitate settlement

negotiations and to avoid unnecessary expense, the parties may agree that, without any need for

formal requests for production, copies of the various documents and/or electronically stored

information described in the parties’ respective Rule 26(a)(1) disclosures shall be exchanged or

made available for inspection and copying by a date certain.

       3.       Joint Report and Plan

       The report and plan shall be filed with the court within 14 days after the conference. The

report and plan shall inform of the date on which the Rule 26(f) conference took place, and persons

participating therein. The following must be considered at the Rule 26(f) conference and included

in the report and plan:

       A.       Discussion of the nature and complexity of the case. This shall be presented in the

                form of a brief statement which contains information from all parties and presents

                their respective positions including:

                1)        The asserted basis for the court’s subject matter jurisdiction;

                2)        The most important or key factual issues and legal issues that are believed

                          to be involved in the case; and

                3)        A breakdown of damages sought.

       B.       Specific information concerning the parties’ plan for proposed discovery,

                including:
                                                    52



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    1)    The subjects on which discovery may be needed;

    2)    Whether discovery shall be conducted in phases and/or limited to or focused

          upon particular issues;

    3)    The categories of discovery to be utilized by the parties, and proposed

          limitations. Where any proposed limitation is different from that imposed

          by the Federal Rules of Civil Procedure and/or the court’s Local Rules,

          specific reason therefor shall be set forth;

    4)    Whether there are any issues relating to disclosure or discovery of

          electronically stored information, including issues as to the form(s) in which

          such information shall be produced;

    5)    Whether there are any issues relating to claims of privilege or protection as

          trial-preparation material. The parties shall specify whether they wish to

          obtain by consent a court order memorializing the parties’ agreement

          regarding 1) inadvertent disclosures, pursuant to Fed. R. Evid. 502(d); or 2)

          privilege log protocols, such as automated logs, exemptions for documents

          created after litigation commences, or criteria for expanded log entries. In

          the event the parties seek a court order regarding inadvertent disclosures or

          privilege logs, the parties shall propose consent order language in their joint

          report and plan.;

    6)    When the need for a Rule 30(b)(6) deposition is known early in the case,

          the Rule 26(f) conference may provide an occasion for beginning discussion

          between the parties regarding the number and description of matters for

          examination and the identity of persons who will testify. At the same time,
                                    53



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            it may be productive to discuss other matters, such as having the serving

            party identify in advance of the deposition the documents it intends to use

            during the deposition, thereby facilitating deposition preparation. In

            appropriate cases, it may be helpful to include reference to Rule 30(b)(6)

            depositions in the discovery plan submitted to the court under Rule 26(f)

            and in the matters considered at a pretrial conference under Rule 16. The

            court encourages the parties to memorialize in Rule 26(f) report any

            agreements for purposes of streamlining Rule 30(b)(6) depositions.

     7)     The date on which all discovery shall be concluded (not the last date of

            issuance; rather, this date sets the discovery bar date); and

     8)     Whether any particular discovery problems are anticipated.

C.   Proposed deadlines in addition to the deadline for discovery mentioned above,

     including for:

     1)     Disclosure of expert witness information where appropriate;

     2)     Joining additional parties;

     3)     Amending pleadings; and

     4)      Filing of all motions, including preliminary and dispositive ones (except

            motions in limine). The court shall be advised whether there are preliminary

            matter(s) which may require early disposition.

D.   The possibility of settlement and the parties’ information concerning which ADR

     method (mediation, arbitration, summary trial, or other) is appropriate together with

     the proposed deadline for its completion. Local Civil Rule 101; see Local Civil

     Rules 101.1, 101.2, 101.3 for alternative ADR procedures.
                                      54



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                  1)        Absent special considerations, a settlement procedure appropriate to a

                            particular case shall be used in every civil action in advance of the final

                            pretrial conference.

         E.       Whether either party requests that a Rule 16(b) FED. R. CIV. P., pretrial conference

                  be scheduled in the case, prior to entry by the court of its case management order.

         F.       Absent request for a Rule 16(b) pretrial conference at this juncture in the case, a

                  case management order shall be entered immediately after receipt and consideration

                  of the parties’ joint report and plan, and the issues raised in the pleadings. Case

                  deadlines established among the terms of the order will not be altered by the court

                  absent extenuating circumstances.24

         G.       Any scheduling issue affecting counsel or a party.                       This report affords the

                  opportunity to announce compelling personal or professional considerations, as

                  appropriate, which may affect the scheduling or course of proceedings.

         If the parties have made a good faith attempt to confer and submit a joint discovery plan,

but have been unable to do so, the parties shall file separate plans within the allotted time period,

including the party’s respective position and information as would be included in a joint report.


                                                  CONCLUSION

         Based on the foregoing, defendants’ motion to dismiss (DE 40) is GRANTED IN PART

and DENIED IN PART and plaintiffs’ motion to amend (DE 45) is GRANTED IN PART AND

DENIED IN PART, as set forth below:


24
          Upon decision by the court on any dispositive motion, a trial date certain will be set by separate order entered
after opportunity is accorded the parties to inform more particularly on trial scheduling. Said supplemental case
management order will instruct also on pretrial procedures necessary to be followed in a bench or jury trial. Ordinarily,
a final pretrial conference will be set approximately two weeks prior to the start of trial.
                                                           55



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1)   Plaintiffs’ ADEA, Title VII, and NCEEPA claims against defendants Rogers,

     Collins, Powell, and Board of Directors are DISMISSED WITH PREJUDICE.

     Where all claims against defendants Rogers, Collins, Powell, and Board of

     Directors have been dismissed, the foregoing defendants are DISMISSED from the

     case.

2)   Plaintiffs’ retaliation; hostile work environment; intentional infliction of emotional

     distress; negligent hiring, retention, and supervision claims are DISMISSED WITH

     PREJUDICE.

3)   Plaintiff Wilson’s ADEA, gender discrimination, and NCEEPA claims against

     defendant NEED are ALLOWED TO PROCEED.

4)   Plaintiff Powell’s ADEA and gender discrimination claims are DISMISSED

     WITH PREJUDICE. Plaintiff Powell’s defamation claim against defendant NEED

     is ALLOWED TO PROCEED.

4)   Plaintiff Rodgers’s ADEA, gender discrimination, and NCEEPA claims are

     DISMISSED WITH PREJUDICE. Where no claims asserted by plaintiff Rodgers

     remain, plaintiff Rodgers is DISMISSED from the case.

5)   Plaintiff Hunt’s gender discrimination and FMLA claims are DISMISSED WITH

     PREJUDICE. Where no claims asserted by plaintiff Hunt remain, plaintiff Hunt is

     TERMINATED from the case.

6)   Plaintiffs’ motion to join Dr. Blue as a plaintiff is DENIED WITHOUT

     PREJUDICE.

7)   Plaintiffs’ motion to amend is GRANTED IN PART, where plaintiffs seek to allege

     additional facts in support of claims allowed to proceed, but it is DENIED in
                                      56



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      remaining part. Within 7 days of this order, plaintiffs are DIRECTED to file their

      second amended complaint, devoid of any claims dismissed by the court.

8)    The parties’ Rule 26(f) conference must occur on or before 21 days from entry of

      this order. The Rule 26(f) report and plan shall be filed with the court within 14

      days after the parties’ Rule 26(f) conference.

SO ORDERED, this the 18th day of September, 2020.




                                                   _____________________________
                                                   LOUISE W. FLANAGAN
                                                   United States District Judge




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